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                                                    April 20, 2022

BY ECF

The Honorable George B. Daniels                      The Honorable Valerie E. Caproni
United States District Judge                         United States District Judge
Daniel Patrick Moynihan United States                Thurgood Marshall United States Courthouse
Courthouse                                           40 Foley Square
500 Pearl Street                                     New York, NY 10007
New York, NY 10007

The Honorable Sarah Netburn
United States Magistrate Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re:    In Re Terrorist Attacks on September 11, 2001, Case No. 03-md-1570
              (GBD)(SN); Owens v. Taliban, Case No. 22-cv-01949 (VEC)

Dear Judge Daniels, Judge Caproni, and Judge Netburn:

       Today we filed a Class Action Complaint pursuant to Rule 23(b)(1)(B) (the
“Complaint”) seeking equitable distribution of the approximately $3.5 billion of assets on
deposit at the Federal Reserve Bank of New York in the name of Da Afghanistan Bank
(the “DAB Assets”). We also filed a Motion for Temporary Restraining Order and for
Preliminary Injunction under the All Writs Act, 28 U.S.C. § 1651(a), seeking to enjoin all
judgment enforcement proceedings in any court affecting the DAB Assets pending
adjudication of the Complaint. These documents are attached and can also be found on the
public docket of In re Approximately $3.5 Billion of Assets on Deposit at the Federal
Reserve Bank of New York in the Name of Da Afghanistan Bank, 22-cv-03228 (S.D.N.Y.).

                                                    Respectfully submitted,

                                                    /s/ Theresa Trzaskoma

                                                    Theresa Trzaskoma

Attachments




                            90 Broad Street | 23rd Floor | New York, NY 10004
                       www.shertremonte.com | tel 212.202.2600 | fax 212.202.4156
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 In re Approximately $3.5 Billion of Assets on      ECF Case
 Deposit at the Federal Reserve Bank of New
 York in the Name of Da Afghanistan Bank            Case No. 22-cv-03228


                                CLASS ACTION COMPLAINT

       Plaintiffs The Estate of Christopher Wodenshek, Anne Wodenshek, Sarah Wodenshek,

Haley Wodenshek, Mollie Wodenshek, William Wodenshek, and Zachary Wodenshek, by their

attorneys Kreindler & Kreindler LLP, Sher Tremonte LLP, and Samuel Issacharoff, Esq.,

individually and on behalf of others similarly situated, and pursuant to Federal Rule of Civil

Procedure 23, allege as follows:

                                        INTRODUCTION

       1.      Individual plaintiffs The Estate of Christopher Wodenshek, Anne Wodenshek,

Sarah Wodenshek, Haley Wodenshek, Mollie Wodenshek, William Wodenshek, and Zachary

Wodenshek (together, the “Wodensheks” or “Plaintiffs”), litigants against the Taliban whose

claims arise directly out of the September 11, 2001 terrorist attacks (the “9/11 Attacks”), bring

this action on behalf of themselves and a class of similarly situated claimants seeking the

equitable distribution of approximately $3.5 billion of Taliban assets currently on deposit at the

Federal Reserve Bank of New York (“FRBNY”) in the name of Da Afghanistan Bank (“DAB”).

       2.      For the past two decades, Plaintiffs and thousands of other victims of the

9/11 Attacks have sought to hold the Taliban accountable for its role in sponsoring and facilitating

the deadliest terrorist attack on U.S. soil. Plaintiffs and numerous others obtained liability

judgments against the Taliban in 2006; other 9/11 victims obtained judgments against the Taliban

years later. However, because the Taliban and its leadership are and have been subject to strict
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economic sanctions by the United States and others (including the United Nations Security

Council), Plaintiffs and other victims of Taliban-enabled terrorism had little to no hope of

identifying any assets that could be used to satisfy their judgments against the Taliban.

       3.      That changed on February 11, 2022, when President Joseph R. Biden signed

Executive Order 14064 (the “Executive Order”) concerning approximately $7 billion of assets

held in the name of Afghanistan’s central bank, DAB. The Executive Order followed a series of

unprecedented and unforeseen historic events that resulted in the Taliban’s takeover of

Afghanistan and all of DAB’s assets in August 2021.

       4.      In recognition of the Taliban’s control over DAB and its assets, the Executive

Order and its accompanying “Fact Sheet” directed that all DAB assets in the United States be

consolidated in a blocked account at the FRBNY.1 They further directed that half of those assets

(approximately $3.5 billion) be preserved for the benefit of U.S. victims of terrorism (the “DAB

Assets”), and, through an Office of Foreign Asset Control license, the Administration has

facilitated access to the other half (approximately $3.5 billion)2 to provide humanitarian relief to

the people of Afghanistan.

       5.      The Executive Order sparked an uncoordinated race among those victims to

collect from the limited DAB Assets. Claimants rushed to establish (or in any event, to not lose)

“priority” under New York State’s default judgment enforcement rules. This, in turn, led other


1
 Executive Order 14,064, 87 Fed. Reg. 8391 (2022); White House Fact Sheet, Executive Order to
Preserve Certain Afghanistan Central Bank Assets for the People of Afghanistan, (Feb. 11, 2022)
(hereinafter, the “Fact Sheet”) (emphasis added), https://www.whitehouse.gov/briefing-
room/statements-releases/2022/02/11/fact-sheet-executive-order-to-preserve-certain-afghanistan-
central-bank-assets-for-the-people-of-afghanistan/.
2
 Unless otherwise noted, the “DAB Assets” are defined as the approximately $3.5 billion in DAB
funds that were not earmarked for Afghan humanitarian relief and were earmarked for U.S. victims
of terrorism in the Executive Order.


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victims of terrorism to join the race to claim “priority” to the DAB Assets. Consequently, the

DAB Assets are now the subject of two writs of execution in the combined amount of

approximately $2.2 billion, with briefing on turnover proceedings already under way, and a

prejudgment order of attachment in excess of $4.7 billion. Meanwhile, Plaintiffs and hundreds of

other victims of the 9/11 Attacks have pending motions to confirm damages awards of billions of

dollars against the Taliban.

         6.     The $3.5 billion in DAB Assets, which constitute the sum total of assets available

to satisfy judgments against the Taliban, are insufficient to satisfy the writs of execution and

attachment orders to which those assets are currently subject, let alone to satisfy other damages

awards against the Taliban that have been or will soon be granted. Adjudication of any individual

claim or groups of claims will be dispositive of—and will substantially impair the rights of—

Plaintiffs and thousands of other terrorism victims. Indeed, if individual adjudications proceed

under the “first in time is first in right” approach, a small number of claimants will likely take the

entire $3.5 billion in DAB Assets for themselves, while Plaintiffs and thousands of other victims

will likely recover nothing—a profoundly inequitable outcome.

         7.     The DAB Assets thus constitute a classic limited fund for purposes of

Rule 23(b)(1)(B), one in which:

                an adjudication as to one or more members of the class will
                necessarily be or probably have an adverse practical effect on the
                interests of other members who should therefore be represented in
                the lawsuit. This is plainly the case when claims are made by
                numerous persons against a fund insufficient to satisfy all claims. A
                class action by or against representative members to settle the
                validity of the claims as a whole, or in groups, followed by separate
                proof of the amount of each valid claim and proportionate
                distribution of the fund meets the problem.3


3
    Fed. R. Civ. P. 23(b)(1)(B) Advisory Committee’s Notes (1966).


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       8.      Plaintiffs seek to ensure that the DAB Assets are distributed equitably, and to

avoid a grossly unjust scenario in which a small handful of claimants obtain tens of millions of

dollars each in compensation at the expense of thousands of other victims of Taliban-sponsored

or Taliban-supported terrorist attacks who stand to receive nothing. Accordingly, Plaintiffs seek:

             a) an immediate order in aid of the Court’s jurisdiction enjoining any judgment

                 enforcement proceeding in any court affecting the DAB Assets pending

                 adjudication of Plaintiffs’ Class Action Complaint;

             b) certification of a mandatory class composed of all persons and/or estates with

                 a compensatory damages claim against the Taliban on file in a U.S. court of

                 record as of April 20, 2022, where such claim arises directly out of an act of

                 terrorism, where the injuries suffered were proximately caused by that act of

                 terrorism, and where the Taliban has been or likely will be adjudged liable for

                 those injuries (the “Class”);

             c) a declaration that the DAB Assets are available to satisfy the Class members’

                 judgments against the Taliban under Section 201 of the Terrorism Risk

                 Insurance Act, Pub. L. No. 107-297, 116 Stat. 2322–2341 (2002) (“TRIA”);

             d) the imposition of a constructive trust over the DAB Assets; and

             e) distribution of the DAB Assets on an equitable basis to all Class members.

                                JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, as the relief Plaintiffs seek includes a declaration of Class members’ rights under TRIA,

and the rights of the Class members to recover the compensatory damages at issue are defined by

the Anti-Terrorism Act, 18 U.S.C. § 2333(a). The Court also has jurisdiction under the Air

Transportation Safety and System Stabilization Act of 2001 (the “Air Stabilization Act”), 49

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U.S.C. § 40101, Title IV, § 408(b)(3), which grants the Southern District of New York

(“S.D.N.Y.”) “original and exclusive jurisdiction over all actions brought for any claim . . .

resulting from or relating to the terrorist-related aircraft crashes of” the 9/11 Attacks. This Court

further has jurisdiction under 12 U.S.C. § 632, which grants federal courts original jurisdiction of

all civil suits involving any Federal Reserve Bank.

        10.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(f)(1)

because the property that is the subject of this action is situated in this district, and pursuant to

the Air Stabilization Act, which designates the S.D.N.Y. as the exclusive venue for all civil

litigation arising out of or related to the 9/11 Attacks.

                                              PARTIES

        11.     Plaintiff The Estate of Christopher Wodenshek is the successor of Christopher

Wodenshek, a U.S. citizen killed in the 9/11 Attacks. One month before the 9/11 Attacks, the

Wodenshek family moved from Connecticut to New Jersey so that Christopher, a broker at Cantor

Fitzgerald, could shorten his commute and spend more time with his wife and five young children.

The morning of September 11, 2001, two days after his eleventh wedding anniversary,

Christopher went to work, arriving on the 105th floor of the World Trade Center’s North Tower

between 7:00 and 7:30 a.m. An hour later, at 8:46 a.m., the hijacked American Airlines Flight 11

slammed into the building between the ninety-third and ninety-ninth floors. Christopher was,

along with many others, trapped and killed.

        12.     Plaintiff Anne Wodenshek is the personal representative of The Estate of

Christopher Wodenshek, and his surviving wife. A motion to confirm their compensatory

damages awards of $14,738,118 and $12,500,000, respectively, against the Taliban is currently

pending in In re Terrorist Attacks on September 11, 2001, 03-md-1570 (S.D.N.Y.) (the “9/11

MDL”). To date, Christopher Wodenshek’s estate and Anne Wodenshek have received

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approximately $55,000 and approximately $48,000, respectively, from the government-funded

U.S. Victims of State Sponsored Terrorism program (the “USVSST”), which has so far disbursed

approximately $1.6 billion to 10,590 victims of the 9/11 Attacks.

       13.     Plaintiffs Sarah, Haley, Mollie, William, and Zachary Wodenshek are Christopher

Wodenshek’s surviving children, who were ages nine, seven, six, four, and two on the day of the

9/11 Attacks. The motion to confirm their compensatory damages awards of $8,500,000 each

against the Taliban is currently pending in the 9/11 MDL. To date, they have received

approximately $32,000 each from the USVSST.

                                 FACTUAL ALLEGATIONS

THE TALIBAN

       14.     The Taliban was established by cleric Mullah Mohammad Omar (“Mullah Omar”)

in 1994, following the Soviet Union’s withdrawal from Afghanistan and during the subsequent

Afghan civil war. Its original membership largely consisted of mujahedeen fighters, insurgent

forces that fought against the Soviet occupation of Afghanistan from 1969–1989. Among these

mujahedeen was the Saudi-born Osama Bin Laden, who founded the international terrorist group

known as al Qaeda in Afghanistan.

       15.     By 1996, the Taliban had seized control of much of Afghanistan and established

the Islamic Emirate of Afghanistan, with Mullah Omar serving as head of state. The Taliban

imposed strict Sharia law in the areas it controlled. That same year, the Taliban welcomed the

return of Bin Laden from Sudan, after which he established al Qaeda’s base of operations in

Afghanistan. Because of its involvement in terrorist activity, discussed in more detail below, the

Taliban has been subject to a wide-range of strict sanctions, blocking the organization and its

leadership from transacting any business in the United States.




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       16.    At the time the Taliban ruled the Islamic Emirate of Afghanistan, it controlled and

directed Afghanistan’s central bank, DAB.4 It continued to do so until late September 2001, when

a U.S.-led coalition invaded Afghanistan following the 9/11 Attacks and removed the Taliban

from power.

       17.    After the Taliban’s fall, a transitional government was formed under Hamid

Karzai and it governed Afghanistan until 2003, when the people of Afghanistan ratified a new

constitution and elected a civilian government recognized by the United States and the

international community at large—the Islamic Republic of Afghanistan. However, the Taliban

maintained a constant insurgency for the two decades following its 2001 deposition.

       18.    In 2020, the United States entered an agreement to withdraw its troops from

Afghanistan. Following that withdrawal in the summer of 2021, concluding the U.S. military’s

two-decade long military presence, the Taliban commenced a major offensive. On August 15,

2021, the Taliban captured the capital of Kabul and Afghanistan’s then-leadership abdicated,

disbanded and/or fled Afghanistan. Within a brief time, the Taliban gained control of the entire

country.




4
  See H. DOC. NO. 106-268, at 4 (describing the Departments of State and Justice adding DAB to
list of blocked entities under Executive Order 13129 in 1999); Press Release, U.S. Dep’t of
Treasury, Treasury Signs License Unblocking Frozen Afghan Assets (Jan. 24, 2002),
https://home.treasury.gov/news/press-releases/po943 (describing unblocked DAB assets as having
been “associated with the Taliban regime”).


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       19.     In August 2021, as part of its complete takeover of Afghanistan and all of its state

organs, the Taliban took control of DAB, installed senior Taliban leaders as DAB leadership,5

and caused DAB to implement Taliban edicts.6

       20.     Prior to the Taliban’s 2021 takeover of Afghanistan, it had no tangible assets in

the United States against which Plaintiffs or any other claimants could have enforced judgments.

THE 1998 U.S. EMBASSY BOMBINGS IN KENYA AND TANZANIA

       21.     The following allegations are largely drawn from the March 8, 2022 complaint in

Owens v. Taliban, 22-cv-1949 (S.D.N.Y.) (hereinafter cited as “Owens Compl.”),7 and are

re-alleged below for purposes of contextualizing a known act of terrorism out of which claims

against the Taliban arise.




5
  See, e.g., Ian Talley, et al., Sactioned Taliban Finance Leader Holds Leadership Post at Afghan
Central Bank, WALL ST. J. (Mar. 11, 2022), https://www.wsj.com/articles/sanctioned-taliban-
financier-tapped-to-help-lead-afghan-central-bank-11647003720?mod=newsviewer_click
(appointing Noor Ahmad Agha as DAB first deputy governor); Eltaf Najafizada, Taliban Name
Obscure Official as Central Bank Chief with Crisis Looking, BLOOMBERG (Aug. 23, 2021),
https://www.bloomberg.com/news/articles/2021-08-23/taliban-name-obscure-official-central-
bank-chief-ascrisis-looms (appointing Haji Mohammed Idris DAB Acting Governor); Da
Afghanistan Bank, DAB Leadership Holds Meeting with the High Ranking Officials of
Commercial Banks (Sept. 11, 2021), https://www.dab.gov.af/dab-leadership-holds-meeting-high-
ranking-officials-commercial-banks (announcing Taliban takeover of Da Afghanistan Bank).
6
 See James Mackenzie, Mohammad Yunus Yawar, Afghan Central Bank Moves to Halt Currency
Slide As Crisis Deepens, REUTERS (Dec. 14, 2021), https://finance.yahoo.com/news/afghanistan-
central-bank-says-acting-094556696.html (describing Taliban efforts to utilize DAB, among other
entities, to stabilize Afghanistan’s currency).
7
  Owens, 22-cv-1949 (S.D.N.Y. Mar. 9, 2022), ECF 1 (deficiently filed complaint), 7 (re-filed
complaint).


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          22.     On August 7, 1998, the eighth anniversary of the United States’ deployment of

troops to Saudi Arabia, al Qaeda nearly simultaneously detonated bombs at the U.S. Embassies

in Nairobi, Kenya and Dar es Salaam, Tanzania.8

          23.     The Nairobi bombing was executed by Jihad Muhammed Ali (“Ali”) and

Mohammed Rashed Daoud al-Owhali (“al-Owhali”).9

          24.     Prior to the bombing, al-Owhali spent time at al Qaeda’s camps in Afghanistan,

where he was trained in explosives, hijacking, and kidnapping. He personally requested a jihad

mission from Bin Laden. Al-Owhali was then sent to fight alongside the Taliban against an

American-backed military group. After he distinguished himself in battle with the Taliban, in or

about late 1997 or early 1998, he was approached by an al Qaeda leader and offered a mission—

the bombing of the U.S. Embassy in Nairobi—for which he received additional training in

Afghanistan.10

          25.     Ali detonated a truck bomb in front of the U.S. Embassy in Nairobi using a

gas-enhanced explosive device at 10:30 a.m., killing himself and 213 people, including twelve

Americans, and injuring more than 4,000 others.11

          26.     Concurrently, in Dar es Salaam, two al Qaeda members detonated a truck bomb

outside the U.S. Embassy. One was killed in the blast. The other, Khalfan Khamis Mohamed, had




8
    Owens Compl. ¶ 110.
9
    Id. ¶ 111.
10
     Id. ¶ 112.
11
     Id. ¶ 113.


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previously received explosives training in an al Qaeda training camp in Afghanistan. Eleven

people were killed, and eighty-five were injured.12

          27.      The U.S. government immediately linked the U.S. Embassy bombings to al Qaeda

and the Taliban.13

                  a) On August 20, 1998, President William J. Clinton signed Executive

                     Order 13099, which froze all assets of al Qaeda and Bin Laden in the United

                     States, banned the import of Afghan goods, and prohibited the sale of goods and

                     services to the Taliban.

                  b) President Clinton ordered airstrikes on terrorist training camps throughout

                     Taliban-controlled territory in Afghanistan. The strikes began on August 20,

                     1998, and were intended to persuade the Taliban to hand over Bin Laden. The

                     initial strikes killed twenty to thirty people but missed Bin Laden by a few

                     hours.

                  c) The United States issued a formal warning to the Taliban, vowing to hold it

                     responsible for any attacks on Americans carried out by al Qaeda.

                  d) U.S. diplomats unsuccessfully attempted to convince the Taliban to surrender

                     Bin Laden. Mullah Omar refused to do so and vowed to protect Bin Laden “at

                     any cost.”14




12
     Id. ¶ 114.
13
     Id. ¶ 115.
14
  Taliban Vows to Protect Suspect in U.S. Embassy Blasts ‘At Any Cost’, HOUSTON CHRONICLE,
Nov. 6, 1998.


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              e) On October 8, 1999, the U.S. Secretary of State designated al Qaeda as a

                  Foreign Terrorist Organization in accordance with section 219 of the

                  Immigration and Nationality Act, as amended.

THE 9/11 ATTACKS

       28.     On September 11, 2001, five al Qaeda members hijacked American Airlines

Flight 11 carrying ninety-two persons, bound from Boston to Los Angeles, and at approximately

8:46 a.m., crashed the plane into the North Tower of the World Trade Center in New York.

       29.     On September 11, 2001, five other al Qaeda members hijacked United Airlines

Flight 175 carrying sixty-five persons, bound from Boston to Los Angeles, and at approximately

9:02 a.m., crashed the plane into the South Tower of the World Trade Center in New York.

       30.     On September 11, 2001, five other al Qaeda members hijacked American Airlines

Flight 77 carrying sixty-four persons, bound from Virginia to Los Angeles, and at approximately

9:37 a.m., crashed the plane into the Pentagon.

       31.     On September 11, 2001, four other al Qaeda members hijacked United Airlines

Flight 93 carrying forty-five persons, bound from Newark to San Francisco with the intention of

crashing the plane into a target in Washington, D.C., such as the White House or the Capitol. At

approximately 10:10 a.m., because of the heroic intervention of Flight 93’s passengers, the aircraft

crashed into a field in Shanksville, Pennsylvania.

       32.     At approximately 9:50 a.m. and 10:29 a.m., the South and North Towers of the

World Trade Center, respectively, collapsed.

       33.     The hijackings and resulting suicide attacks—the 9/11 Attacks—were the

culmination of a conspiracy among a number of parties, including, among others, al Qaeda, the

Kingdom of Saudi Arabia, and the Taliban, to attack the United States and murder U.S. citizens.




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LITIGATION AGAINST THE TALIBAN

       34.     In September 2002, the Wodensheks and certain other victims of the 9/11 Attacks

and their families filed a complaint against numerous defendants responsible for the 9/11 Attacks,

including the Taliban.15 The Wodensheks’ right to relief is based upon the Taliban’s support of

al Qaeda and its leader, Bin Laden, perpetrators of the 9/11 Attacks, and the 9/11 Attacks’ support

network.16 That complaint was subsequently consolidated and amended several times.17

       35.     This was one of multiple actions commenced in the S.D.N.Y. and in the District

of Columbia beginning in 2002, which were eventually consolidated by the Judicial Panel for

Multi-District Litigation into the 9/11 MDL.18

       36.     On June 16, 2004, the 9/11 MDL court designated Jim Kreindler of Kreindler &

Kreindler LLP, counsel for the Wodensheks, and Ronald Motley, counsel for plaintiffs in Burnett

et al v. Al Baraka Investment and Development Co., 03-cv-9849 (S.D.N.Y.) (the “Burnett

Plaintiffs”), as co-chairs of the Plaintiffs’ Executive Committee for Personal Injury and Death



15
   The Wodensheks asserted federal jurisdiction over the Taliban pursuant to, among other things,
the Alien Tort Statute (28 U.S.C. § 1350), the Foreign Sovereign Immunities Act (28 U.S.C.
§ 1605(a)(7) and the Torture Victim Protection Act (28 U.S.C. § 1350 note), and made claims for
damages under those provisions as well as under the Anti-Terrorism Act (18 U.S.C. § 2333) and
state law for the deaths, injuries, and losses suffered in the 9/11 Attacks.
16
   See Ashton v. Al Qaeda Islamic Army et al., 02-cv-6977 (S.D.N.Y. Sept. 10, 2002), ECF 2
(asserting federal jurisdiction over the Taliban pursuant to, among other things, the Alien Tort
Statute (28 U.S.C. § 1350), the Foreign Sovereign Immunities Act (28 U.S.C. § 1605(a)(7)) and
the Torture Victim Protection Act (28 U.S.C. § 1350 note), and claiming damages under those
provisions as well as under the Anti-Terrorism Act (18 U.S.C. § 2333) and state law for the deaths,
injuries, and losses suffered in the 9/11 Attacks).
17
  See, e.g., 02-cv-6977 (S.D.N.Y. Mar. 6, 2003), ECF 11; id. (Aug. 1, 2003), ECF 32; id. (Aug.
13, 2003), ECF 38; id. (Sept. 5, 2003), ECF 111; id. (Sept. 30, 2005), ECF 465.
18
   See, e.g., In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. June 16, 2004), ECF 247 at 12
(consolidating Ashton v. Al Qaeda, among other actions, into the 9/11 MDL).


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Claims (the “Wrongful Death PEC”), and Elliot Feldman and Sean Carter of Cozen O’Connor

P.C. as co-chairs of the Plaintiffs’ Executive Committee for Commercial Claims (the

“Commercial Claims PEC”).19 The Wrongful Death and Commercial Claims PECs were

instructed to work together whenever possible to promote the orderly and efficient administration

of the litigation and promote judicial economy.20

          37.     Among counsel named to the Wrongful Death PEC were Dennis Pantazis of

Wiggins Childs Pantazis Fisher Goldfarb PLLC and Richard Hailey of Ramey & Hailey,21

counsel for estates and survivors of forty-seven individuals killed in the 9/11 Attacks in Havlish

v. bin Laden, 03-cv-9848 (S.D.N.Y.) (the “Havlish Plaintiffs”), actions consolidated within the

9/11 MDL.

          38.     On September 15, 2004, the 9/11 MDL court authorized plaintiffs in Ashton,

02-cv-6977 (S.D.N.Y), Burnett, 03-cv-9849 (S.D.N.Y.) and Federal Insurance Co. v. al Qaida,

03-cv-6978 (S.D.N.Y.) to serve certain foreign defendants, including the Taliban, via

appropriately designated media publications.22 Plaintiffs in O’Neill v. Al Baraka Investment and

Development Co., 04-cv-1923 (S.D.N.Y.) were subsequently added to this publication service

group on October 31, 2004.23 The Taliban did not respond, and in 2006, the 9/11 MDL court




19
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. June 16, 2004), ECF 248-2 ¶¶ 4–7.
20
     See, e.g., id. (June 16, 2004) ¶ 3.
21
     Id. (June 16, 2004) ¶ 6
22
     In re Terrorist Attacks, 03-cv-1570 (S.D.N.Y. Sept. 16, 2004), ECF 445.
23
     In re Terrorist Attacks, 03-cv-1570 (S.D.N.Y. Oct. 31, 2014), ECF 2908.


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granted motions for default liability in favor of the Ashton, Burnett, O’Neill and Federal

Insurance Plaintiffs.24

         39.     Between 2008 and 2011, the Havlish Plaintiffs’ counsel separately sought default

judgments against foreign sovereign defendant Islamic Republic of Iran (“Iran”) and other

defendants, including a number of non-sovereign defendants such as the Taliban. The Havlish

Plaintiffs presented no facts or arguments concerning the role of non-sovereign defendant the

Taliban in the 9/11 Attacks, as was required in the default judgment effort against sovereign

defendant Iran, instead relying entirely on the fact of the Taliban’s default. As it had done six

years prior for the Ashton Plaintiffs and others, the 9/11 MDL court granted default judgments in

favor of the Havlish Plaintiffs and granted motions for final damages judgments as against certain

foreign sovereign Iranian entities and numerous other non-sovereign defendants, including the

Taliban.25

         40.     In 2015, the Ashton, Burnett, O’Neil and Federal Plaintiffs obtained default

judgments against Iran, and the 9/11 MDL court began issuing final damages judgments on a

rolling basis, beginning on March 8, 2016.26 The 9/11 MDL court issued individual damage

awards for economic losses in each of those cases, and $2,000,000 for conscious pain and

suffering of each of the Ashton Plaintiffs’ decedents killed in the 9/11 Attacks.27 The 9/11 MDL


24
   See, e.g., In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Apr. 27, 2006), ECF 1782, et seq.; id.
(May 12, 2006) ECF 1797 (referring to the individual defendants listed in Exhibit B to the Ashton
Plaintiffs’ motion, including the Taliban). The Ashton Plaintiffs’ default liability judgment was
issued on May 12, 2006, and applies to all claims, plaintiffs and defendants included up to and
through the Sixth Amended Complaint. Id.
25
     See In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Oct. 3, 2012), ECF 2623.
26
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Mar. 8, 2016), ECF 3226.
27
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Mar. 8, 2016), ECF 3226.


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court next awarded solatium damages under the Anti-Terrorism Act, 18 U.S.C. § 2333, to

immediate surviving family members, to include surviving spouses, children, parents, siblings

and/or their functional equivalents.28 The 9/11 MDL court determined those damages values to

be $12,500,000 for a spouse; $8,500,000 for a child or parent; and $4,250,000 for a sibling.29

Despite those substantial judgments, no claimant has recovered close to the full amounts, with

nearly all of the families victimized in the 9/11 Attacks receiving no more than 5% of their

judgments, and spouses and dependents of decedents generally receiving less than 0.76% of their

judgments.30

EFFORTS TO COLLECT ON CLAIMS AGAINST THE TALIBAN

          41.    Nearly contemporaneously with the Taliban’s takeover of Afghanistan and the

DAB in the summer of 2021, two plaintiff groups obtained and served writs of execution on the

FRBNY as to Taliban assets.31 On September 13, 2021, the Havlish Plaintiffs served their writ

on the FRBNY in the amount of $7,045,632,402.79.32 The Havlish Plaintiffs did not publicly

docket their writ of execution against the Taliban in the 9/11 MDL or otherwise notify other

parties to the 9/11 MDL about their plan, despite the fact that two of their attorneys sit on the




28
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. June 16, 2016), ECF 3300.
29
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. June 16, 2016), ECF 3300 at 4 (Ex. A).
30
  See USVSST Special Master Reports to Congress published August 2017, February 2019 and
June 2020, available at http://www.usvsst.com/news.php (last accessed Apr. 18, 2022).
31
   The Havlish Plaintiffs are currently represented by, among others, an attorney who, until
January 2022, served as special counsel to the National Security Council advising the Biden
Administration in connection with legal efforts to resettle Afghan evacuees.
32
     Havlish, 03-cv-9848 (S.D.N.Y.), ECF 527 at 1.


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Wrongful Death PEC.33 On September 27, 2021, a group of seven anonymous non-9/11 MDL

plaintiffs known as the “Doe Plaintiffs” served their writ in the amount of $138,418,741.34

       42.     The U.S. government, through the Department of Justice (“DOJ”), promptly

intervened and the Havlish and Doe courts granted stays of any judicial enforcement of the

respective writs of execution.35 During the pendency of those stays, beginning in December 2021,

the Ashton Plaintiffs moved for final judgments for damages against Iran’s co-tortfeasor, the

Taliban, seeking to extend to the Taliban the same damages awards ordered against Iran.36 The

cumulative final damages awards sought in the Ashton Plaintiffs’ motions cited herein—which

remain pending as of this filing—are nearly $30 billion. Other 9/11 MDL plaintiffs also have

pending motions for damages awards.37




33
   The non-Havlish Plaintiffs learned of the writ only because DOJ attached the writ as an exhibit
to a letter it filed with the 9/11 MDL court after the writ had already been served. Havlish, 03-cv-
9848 (S.D.N.Y. Sep. 16, 2021), ECF 526, 526-1; In re Terrorist Attacks, 03-md-1570 (S.D.N.Y.
Sep. 20, 2021), ECF 7120.
34
   Does v. The Taliban, 20-mc-740 (S.D.N.Y. Aug. 26, 2021), ECF 15; id. (Aug. 30, 2021), ECF
19; id. (Sep. 23, 2021), ECF 26; id. (Oct. 14, 2021), ECF 30. The Doe Plaintiffs are seven
anonymous U.S. contractors injured in a 2016 suicide bombing in Afghanistan who obtained a
final default judgment against the Taliban in November 2020. See Doe 1 v. Al-Qaeda, 4:20-cv-
605 (N.D. Tex. Mar. 20, 2020), ECF 1 (complaint); id. (Nov. 5, 2020), ECF 22 (final default
judgment).
35
  See Havlish, 03-cv-09848 (S.D.N.Y. Sep. 20, 2021), ECF 527 at 3; Does, 20-cv-740 (S.D.N.Y.
Sep. 23, 2021), ECF 26 at 2.
36
  In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Dec. 20, 2021), ECF 7489–91; id. (Dec. 31,
2021), ECF 7516–18; id. (Jan. 13, 2022), ECF 7594; id. (Jan. 28, 2022), ECF 7634.
37
  See, e.g., Burnett v. Al Baraka Investment & Development Corp, et al, 03-cv-9849 (S.D.N.Y.
Apr. 7–8, 2022), ECF 962–65.


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           43.   The stays of the Havlish and Doe Plaintiffs’ writs were extended pending the filing

of a Statement of Interest by the United States, which was ultimately filed on February 11, 2022,

the same day President Biden signed the Executive Order.38

           44.   As described in the U.S. Statement of Interest, the Executive Order

                 addresses the property and interests in property of Afghanistan’s
                 central bank, Da Afghanistan Bank (“DAB”), that are held in the
                 United States by any U.S. financial institution, including the
                 Federal Reserve Bank of New York (“FRBNY”), as of
                 February 11, 2022 . . . . In recognition of the “unusual and
                 extraordinary threat to the national security and foreign policy of
                 the United States” posed by the “widespread humanitarian crisis in
                 Afghanistan,” the E.O. blocks the DAB [funds], providing that
                 such assets “may not be transferred, paid, exported, withdrawn, or
                 otherwise dealt in,” except as specified by the Executive Order.39

In effect, the Executive Order obligated U.S. financial institutions holding DAB funds, including

the FRBNY, to transfer those funds to the FRBNY for consolidation in a blocked account.40 The

Executive Order explicitly states that the President signed it in part to benefit all victims of

terrorism with claims against the Taliban: “I also understand that various parties, including

representatives of victims of terrorism, have asserted legal claims against certain property of DAB

or indicated in public court filings an intent to make such claims. This property is blocked under

this order.”41




38
  Havlish, 03-cv-9848 (S.D.N.Y. Feb. 11, 2022), ECF 563; Does, 20-cv-740 (S.D.N.Y. Feb. 11,
2022), ECF 49.
39
     Havlish, 03-cv-9848 (S.D.N.Y. Feb. 11, 2022), ECF 563 at 1.
40
     Executive Order.
41
     Id.


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          45.    In furtherance of this explanation, the Administration issued that same day a “Fact

Sheet” concerning the Executive Order, making clear that the DAB Assets are earmarked for

“U.S. victims of terrorism”:42

                 Many U.S. victims of terrorism, including relatives of victims who
                 died in the September 11, 2001 terrorist attacks, have brought
                 claims against the Taliban and are pursuing DAB [funds] in federal
                 court. Because some of these plaintiffs currently have writs of
                 execution against the DAB [funds], the court will need to issue a
                 further decision regarding the scope of those writs. Even if funds
                 are transferred for the benefit of the Afghan people, more than $3.5
                 billion in DAB [funds] would remain in the United States and are
                 subject to ongoing litigation by U.S. victims of terrorism. Plaintiffs
                 will have a full opportunity to have their claims heard in court.43

          46.    Upon the filing of the Statement of Interest, the Havlish and Doe Plaintiffs

requested the stays be lifted. On February 22, 2022, the 9/11 MDL court held a hearing at which

counsel for the United States and the Havlish, Doe, Ashton, O’Neill, and Federal Insurance

Plaintiffs, among others, apprised the court of their respective positions on lifting the stays.44

Counsel for the Ashton Plaintiffs urged the court to exercise its equitable powers to ensure fair

treatment of all plaintiffs in the 9/11 MDL.45




42
   The availability of the DAB Assets under Section 201 of TRIA remains unresolved, although it
is the subject of briefing in the Havlish and Doe Plaintiffs’ turnover motions. See Havlish, 03-cv-
9848 (S.D.N.Y. Mar. 20, 2022), ECF 598; Does, 20-mc-740 (S.D.N.Y. Mar. 20, 2022), ECF 80.
Certain female Afghan leaders have written to the 9/11 MDL court to contend that the DAB Assets
“are owned by the State of Afghanistan” rather than the Taliban. In re Terrorist Attacks, 03-md-
1570 (S.D.N.Y. Mar. 31, 2022), ECF 7823 at 4. Any determination as to the DAB Assets’
ownership and availability under Section 201 of TRIA necessarily bear on all Class members as
claimants who have or will have compensatory damages judgments against the Taliban.
43
     Fact Sheet (emphasis added).
44
     Ashton v. Al Qaeda Islamic Army et al., 02-cv-6977 (S.D.N.Y. Feb. 22, 2022), ECF 1614.
45
     See id. at 27:9–10.


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         47.     Ultimately, the stays were lifted on March 2, 2022,46 triggering a flurry of activity

as disparate plaintiff groups competed for priority over the DAB Assets.

         48.     On March 20, 2022, the Havlish and Doe Plaintiffs filed motions for partial

turnover as to the DAB Assets in amounts sufficient to satisfy their respective compensatory

damages awards of $2,086,386,669 and $138,284,213.26.47 Oppositions to those turnover

motions are due to be filed on April 20, 2022.

         49.     In addition, yet another group of plaintiffs—this time unrelated to the 9/11 Attacks

and the 9/11 MDL—emerged to claim the remaining DAB Assets. Specifically, on March 8,

2022, more than twenty-three years after al Qaeda’s August 7, 1998 bombings of the U.S.

embassies in Nairobi, Kenya and Dar es Salaam, Tanzania, individuals allegedly injured or killed

in those bombings (or their estates) and their family members (together, the “Owens Plaintiffs”)

filed a complaint, solely against the Taliban, seeking compensatory and punitive damages. 48 As

they filed their complaint, the Owens Plaintiffs also moved on an emergency basis (citing the

Havlish and Doe Plaintiffs’ September 2021 service of writs of execution against the DAB

Assets) for a prejudgment order of attachment against the DAB Assets for an amount in excess

of $4,669,011,012.21.49 A stated purpose of this emergency application for attachment was to

obtain priority over other plaintiffs with claims against the Taliban.


46
     See, e.g., Does, 20-mc-740 (S.D.N.Y. Mar. 2, 2022), ECF 68.
47
  In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Mar. 20, 2022), ECF 7763–71. As to at least the
Havlish motion, the actual judgment underlying the writ includes punitive damages, which cannot
be recovered under the TRIA, which is the basis for obtaining the DAB Assets, and the interest
calculation may be incorrect.
48
  Owens, 22-cv-1949 (S.D.N.Y. Mar. 8, 2022), ECF 1 (deficiently filed complaint); id. (Mar. 9,
2022), ECF 7 (re-filed complaint).
49
     Owens, 22-cv-1949 (S.D.N.Y. Mar. 8, 2022), ECF 4–6.


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         50.      On March 21, 2022, the Owens court granted a prejudgment attachment as to

$1,373,761,042.95 of the DAB Assets (reflecting the compensatory damages portion of the

$4,669,011,012.21 the Owens Plaintiffs claim in damages).50 In a subsequent Opinion and Order,

the Owens court explicitly recognized that the limited DAB Assets are insufficient to satisfy all

deserving victims of terrorism with claims against the Taliban and that New York State’s default

judgment enforcement rules have incentivized this inequitable “run” on the DAB Assets.

                  The unfortunate reality that the numerous victims of acts of terror
                  perpetrated by the Taliban may not collect on judgments is not lost
                  on the Court, and the Court does not seek to engage in
                  gamesmanship over which victims are more deserving to collect on
                  the limited funds available. New York law contemplates that
                  pre-judgment attachment provides priority among creditors.51

         51.      Also on March 22, 2022, counsel for the Federal Insurance Plaintiffs in the 9/11

MDL and co-chair of its Commercial Claims PEC, submitted a letter (the “Priority Settlement

Letter”) apprising the 9/11 MDL court that the Federal Insurance Plaintiffs and certain other

groups of plaintiffs, including the Havlish and Doe Plaintiffs (together, the “Settling MDL

Plaintiffs”), had “reached agreement in principle” effectively allocating priority among

themselves over the DAB Assets subject to attachment by the Owens Plaintiffs (the “Priority

Settlement”).52

         52.      On March 22 and 23, 2022, the Bauer Plaintiffs and Schneider Plaintiffs voiced

objections to the Priority Settlement on the basis that the Priority Settlement is inequitable and




50
     Owens, 22-cv-1949 (S.D.N.Y. Mar. 21, 2022), ECF 33.
51
     Owens, 22-cv-1949 (S.D.N.Y. Apr. 11, 2022), ECF 38 (emphasis added).
52
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Mar. 22, 2022), ECF 7790 at 1.


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conflicts with the explicit motivation of the Executive Order—to compensate victims of terrorism

with claims against the Taliban equitably.53

         53.     Plaintiffs (and many others) declined to participate in the Priority Settlement

because, if allowed, it will still result in a highly inequitable distribution of the DAB Assets, such

that a relatively small number of claimants will receive an outsized portion of the funds, and most

other claimants will receive, if anything, only a tiny fraction of that recovery.54

         54.     On April 6, 2022, the 9/11 MDL court granted the Federal Insurance Plaintiffs’

motion for a partial final default judgment against the Taliban, for a total award, excluding

prejudgment interest, of $9,351,247,965.99 (approximately $3.1 billion of which is for

compensatory damages).55 In granting the motion, the 9/11 MDL court noted that there are more

than a dozen motions for default judgment against the Taliban pending on the MDL, including

the Ashton Plaintiffs’ motions which (encompassing the Wodensheks’ claims) seek damages in

excess of nearly $30 billion.56 The 9/11 MDL court directed “all plaintiffs to continue to meet

and propose strategies for an efficient and fair process to adjudicate pending default judgment




53
  In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Mar. 22, 2022), ECF 7792 at 3 (“It was not, and
could never be, the position of the Biden Administration, that some 9/11 family members would
receive compensation for their losses for these blocked assets than others do measured merely by
the date they received their final judgments.”); id. (Mar. 23, 2022), ECF 7793 (joining in the
Baumeister letter and requesting the appointment of a Special Master to oversee distribution of the
DAB Assets).
54
     See In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Mar. 30, 2022), ECF 7810 at 2.
55
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Apr. 6, 2022), ECF 7833.
56
  In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Dec. 20, 2021), ECF 7489–91; id. (Dec. 31,
2021), ECF 7516–18; id. (Jan. 13, 2022), ECF 7594; id. (Jan. 28, 2022), ECF 7634.


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motions.”57 It also noted that the Federal Insurance Plaintiffs “may execute on and enforce the[ir]

judgment immediately.”58

         55.     Accordingly, the DAB Assets are currently subject to two writs of execution and

a prejudgment attachment order. And the Federal Insurance Plaintiffs may execute on their

damages judgment any day.59 The dollar amounts contemplated by the writs and attachment order

alone exceed the $3.5 billion in DAB Assets, and they concern only a tiny fraction of claimants

against the Taliban, to say nothing of the Federal Insurance, Ashton, and other plaintiffs who

have received or expected to soon receive damages awards. Thus, absent the relief sought in this

Class Action Complaint, thousands of terror victims with claims against the Taliban who are not

members of the Havlish, Doe, and Owens Plaintiffs (or the Settling MDL Plaintiffs, should the

Owens Plaintiffs be unable to execute) are all but guaranteed to recover either very little or

nothing from the DAB Assets.




57
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Apr. 6, 2022), ECF 7833.
58
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Apr. 6, 2022), ECF 7833.
59
   On April 20, 2022, the 9/11 MDL court affirmed the Federal Insurance Plaintiffs’ prejudgment
interest calculation, enabling their Final Judgment to issue. See In re Terrorist Attacks,
03-md-1570 (S.D.N.Y. Apr. 20, 2022), ECF 7888.


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                Compensatory Damages Exhausting the $3.5 Billion DAB Assets

  Arguable Priority                   Plaintiffs                   Compensatory Damages
 1                        Havlish                             $2,086,386,669

 2                        Doe                                 $138,285,213.26

 3                        Owens                               $1,373,761,042.95

 TBD                      Federal Insurance                   $3,117,082,655.33

 TBD                      Ashton (including Plaintiffs)       [nearly $30 billion]60


                                CLASS ACTION ALLEGATIONS

         56.     The series of separate lawsuits against the Taliban brought (1) in the 9/11 MDL

on behalf of victims of the 9/11 Attacks and their surviving family members, (2) by the Doe

Plaintiffs , and (3) by the Owens Plaintiffs has led to a race among Class members to win priority

regarding the DAB Assets. In the absence of this class action, under the default New York state

priority rules, family members of forty-seven of the 2,977 individuals killed in the 9/11 Attacks

(the Havlish Plaintiffs) would be poised to deplete nearly two thirds of the limited DAB Assets.

And a small number of other victims (the Doe and either the Owens Plaintiffs or the Settling MDL

Plaintiffs) stand to absorb the remainder. This profoundly inequitable result would leave

thousands of victims of the 9/11 Attacks and other terrorism victims with claims on file against

the Taliban—including those like the Wodensheks who have a liability judgment in hand and a

pending motion seeking to confirm almost $70 million in compensatory damages—to receive

very little or even nothing.

         57.     To ensure a just and fair distribution of the DAB Assets among all Class members,

Plaintiffs bring this action individually and on behalf of all others similarly situated, seeking to


60
     Confirmation of the Ashton Plaintiffs’ cumulative compensatory damages award is pending.


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certify and maintain as a class action pursuant to Rule 23(a) and 23(b)(1)(B) on behalf of the

following:

                   all persons and/or estates with a compensatory damages claim
                   against the Taliban on file in a U.S. court of record as of April 20,
                   2022, where such claim arises directly out of an act of terrorism
                   and the injuries suffered were proximately caused by that act of
                   terrorism and the Taliban has been or likely will be adjudged liable
                   for those injuries.

The members of the Class, thousands of victims of the Taliban’s terrorism, are so numerous and

geographically dispersed that joinder of each is impracticable. As such, Rule 23(a)(1) is satisfied.

          58.      This case presents questions of law and fact common to the claims of all members

of the Class that will require common answers, including whether the DAB Assets are available

to satisfy judgments against the Taliban under Section 201 of TRIA, whether Class members’

claims exceed the value of the collectable DAB Assets, whether the Court should impose a

constructive trust on the DAB Assets, and whether and how the DAB Assets as a limited fund

should be equitably distributed among Class members. As such, Rule 23(a)(2) is satisfied.

          59.      Plaintiffs’ claims are typical of the claims of the members of the Class. Like other

members of the Class, the Wodensheks are the estate and surviving immediate family members

of a victim of terrorism with compensatory damages claims on file against the Taliban arising

directly out of the Taliban’s facilitation of an act of terrorism. They are among the “U.S. victims

of terrorism” who “have brought claims against the Taliban” that are intended as beneficiaries of

the Executive Order.61 Further, they currently hold liability judgments and have pending motions

for damages judgments, which the 9/11 MDL court is in the process of adjudicating. And,




61
     Fact Sheet.


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accordingly, like all other members of the Class, they have an interest in the DAB Assets. As

such, Rule 23(a)(3) is satisfied.

          60.    Plaintiffs will fairly and adequately protect the interests of the Class as a whole

rather than the narrow interests of any single member or group of members of the Class. Indeed,

Plaintiffs’ desire for fairness and to protect the interests of other similarly situated terrorism

victims with respect to the DAB Assets is what motivates this action. Plaintiffs’ counsel are

experienced in aggregate and mass tort litigation, class actions, and other complex litigation.

Counsel from Kreindler & Kreindler LLP have extensive experience representing victims in

aviation disaster litigation and they have represented Plaintiffs (and numerous other plaintiffs

among the Ashton Plaintiffs) in connection with the 9/11 MDL for nearly twenty years. Plaintiffs’

counsel also have significant experience in matters involving equitable distributions in federal

courts, such as bankruptcy proceedings and SEC receiverships. Indeed, Plaintiffs’ counsel

includes Samuel Issacharoff, a leading authority in class and other complex litigation who has

served, among other roles, as a Reporter for the American Law Institute’s Principles of the Law

of Aggregate Litigation. As such, Rule 23(a)(4) is satisfied.

          61.    The DAB Assets valued at approximately $3.5 billion have been earmarked for

U.S. victims of terrorism pursuant to the Executive Order. The value of compensatory damages

awards held (and expected to soon be held) by members of the Class far exceeds this $3.5 billion.

The Havlish and Doe Plaintiffs seek turnover of a combined $2,224,671,882.26, the Owens

Plaintiffs have obtained an order of attachment as to $1,373,761,042.95, and the Federal

Insurance Plaintiffs’ “may execute on and enforce [their $9,351,247,965.99] judgment

immediately.”62 Further, the Ashton Plaintiffs’ pending motions for final judgment on damages


62
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Apr. 6, 2022), ECF 7833 at 3.


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alone seek compensatory damages awards of nearly $30 billion, without calculation of

prejudgment interest. Even without consideration of other similarly situated Class members, those

judgments alone would dissipate the DAB Assets in their entirety. Consequently, the DAB Assets

constitute a limited fund to satisfy the claims of all members of the Class.

        62.     Adjudications concerning this limited fund with respect to individual Class

members would, as a practical matter, be dispositive of the interests of the other Class members

and would substantially impair or impede their ability to protect their interests. In circumstances

such as this, equity requires that a mandatory class be certified to determine the rights of all Class

members and the Class falls within the ambit of a Rule 23(b)(1)(B) “limited fund” class. Unless

the Class is certified, some members of the Class will be able to collect a disproportionate share

of the limited fund relative to their compensatory damages judgments while others with identical

rights and interests will receive very little or even nothing. Accordingly, the requirements of

Rule 23(b)(1)(B) are satisfied.

                                       COUNT I
                         INJUNCTIVE AND DECLARATORY RELIEF
                          PURSUANT TO 28 U.S.C. §§ 2201 AND 2202

        63.     Plaintiffs repeat and re-allege the allegations contained in the foregoing

paragraphs as if fully set forth herein.

        64.     28 U.S.C. § 2201 provides in relevant part that “[i]n a case of actual controversy

within its jurisdiction . . . any court of the United States . . . may declare the rights and other legal

relations of any interested party seeking such declaration, whether or not further relief is or could

be sought. Any such declaration shall have the force and effect of a final judgment or decree. ”

        65.     28 U.S.C. § 2202 permits “[f]urther necessary or proper relief” to be awarded

“based on a declaratory judgment or decree . . . against any adverse party whose rights have been

determined by such judgment.”

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       66.     The DAB is an instrumentality of the Taliban and the DAB Assets, which have

been consolidated in a blocked account at the FRBNY pursuant to the Executive Order, are

available to satisfy judgments against the Taliban under Section 201 of TRIA.

       67.     The DAB Assets are the only known collectible Taliban assets in the United States

(or elsewhere). The value of existing judgments against the Taliban, including claims by plaintiffs

in the 9/11 MDL and in Owens, already far exceeds the value of the DAB Assets. As a result, the

DAB Assets are a limited fund pursuant to Rule 23(b)(1)(B).

       68.     In circumstances in which a limited fund exists, equity requires that absent

parties be represented, joinder being impractical, where individual claims to be satisfied from the

one asset would, as a practical matter, prejudice the rights of absent claimants against a fund

inadequate to pay them all.

       69.     All persons and/or estates with a compensatory damages claim against the Taliban

on file in a U.S. court of record as of April 20, 2022, where such claim arises directly out of an

act of terrorism and the injuries suffered were proximately caused by that act of terrorism and the

Taliban has been or likely will be adjudged liable for those injuries have sought or will seek to

enforce judgments on said claims. Members of the Class who have not yet obtained judgments

against the Taliban, will almost certainly obtain those judgments and seek to enforce them. As a

result, all members of the Class have an equitable interest in the DAB Assets.

       70.     Accordingly, Plaintiffs, on behalf of themselves and all others similarly situated,

respectfully request the Court issue an immediate order in aid of the Court’s jurisdiction enjoining

any judgment enforcement proceeding in any court affecting the DAB Assets pending

adjudication of Plaintiffs’ Class Action Complaint. Plaintiffs further request that the Court certify

the mandatory Class, declare that the DAB Assets are available under TRIA to satisfy Class



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members’ judgments against the Taliban, establish a constructive trust over the DAB Assets for

the benefit of all Class members, and distribute the DAB Assets on an equitable basis to all Class

members.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, pray

for the following relief:

       A.         Because this is a national mandatory class action pursuant to Rule 23(b)(1)(B),

superseding all litigation concerning the enforcement of judgments against the DAB Assets in

state and federal forums, an immediate order in aid of the Court’s jurisdiction enjoining any

judgment enforcement proceeding in any court affecting the DAB Assets pending adjudication

of Plaintiffs’ Class Action Complaint;

       B.         An order certifying the mandatory Class and declaring that the value of the

existing and likely future judgments against the Taliban for claims arising directly out of acts of

terrorism far exceeds the value of the DAB Assets, and, as a result, the DAB Assets comprise a

limited fund pursuant to Rule 23(b)(1)(B);

       C.         A declaration that the DAB Assets are available under Section 201 of TRIA to

satisfy Class members’ judgments against the Taliban;

       D.         A declaration that all members of the Class have an interest in the DAB Assets

and such assets constitute, and shall be held as, a constructive trust for the benefit of all Class

members;

       E.         The equitable distribution of the DAB Assets to all members of the Class at a

time and in a manner to be determined by the Court; and

       F.         All other available and appropriate relief.



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Dated: April 20, 2022
       New York, New York


KREINDLER & KREINDLER LLP          SHER TREMONTE LLP

Megan Wolfe Benett                 By: _/s/ Theresa Trzaskoma______
Noah H. Kushlefsky                      Theresa Trzaskoma
485 Lexington Avenue, 28th Floor        Michael Tremonte
New York, New York 10007                Max Tanner (application for admission forthcoming)
Telephone: (212) 687-8181               Kathryn E. Ghotbi
Facsimile: (212) 972-9432          90 Broad Street, 23rd Floor
mbenett@kreindler.com              New York, New York 10004
nkushlefsky@kreindler.com          Telephone: (212) 202-2600
                                   Facsimile: (212) 202-4156
                                   ttrzaskoma@shertremonte.com
                                   mtremonte@shertremonte.com
                                   mtanner@shertremonte.com
                                   kghotbi@shertremonte.com

                                   -and-

                                   Samuel Issacharoff, Esq. (pro hac vice application
                                   forthcoming)
                                   40 Washington Square South
                                   New York, New York 10012
                                   Telephone: (212) 988-6580
                                   si13@nyu.edu

                                   Counsel for Plaintiffs The Estate of Christopher
                                   Wodenshek, Sarah Wodenshek, Haley Wodenshek, Mollie
                                   Wodenshek, William Wodenshek, and Zachary Wodenshek




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      10/01/2020             The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
                             other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                             United States in September 1974. is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.


     PLAINTIFFS                                                                                  DEFENDANTS
     In re Approximately $3.5 Billion of Assets on Deposit at the
     Federal Reserve Bank of New York in the Name of Da Afghanistan Bank

     ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                                         ATTORNEYS (IF KNOWN)
     Theresa Trzaskoma, Michael Tremonte, Max Tanner, and Kathryn E. Ghotbi,
     Sher Tremonte LLP, 90 Broad St., 23rd FI., New York, NY 10004, (212) 202-2600;
     Megan Wolfe Benett and Noah H. Kushlefsky, Kreindler & Kreindler LLP, 485 Lexington
     Ave., 28th FI., New York, NY 10007, (212) 687-8181; Samuel Issacharoff, 40 Washington Sq. S..
     New York, NY 10012, (212) 988-6580
     CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSQ
                                (DO NOT CITE JURISDICTIONAし STATUTES UNLESS DIVERSITY)

     Injunctive and Declaratory Relief Pursuant to 28 U.S.C. §§ 2201 AND 2202.
                                                                                                                                                     Judge Previously Assigned
     Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No 0 YesHi

    If yes, was this case    Vol.F] Invol. [_J Dismissed. No □ Yes [J If yes, give date                                                    & Case No.

    IS THIS AN INTERNATIONAL ARBITRATION CASE?            No   0          Yes   U
    (PLACE AN [xÿ IN ONE BOX ONLY)                                      NATURE OF SUIT
                                  TORTS                                                                                     ACTIONS UNDER STATUTES



    CONTRACT                      PERSONAL INJURY              PERSONAL INJURY            FORFEITURE/PENALTY                BANKRUPTCY                     OTHER STATUTES
                                                               ( ] 367 HEALTHCARE/
    [ ] 110     INSURANCE         [x1 310 AIRPLANE             PHARMACEUTICAL PERSONAL [ 625 DRUG RELATED                                                  [ J 375 FALSE CLAIMS
                                                                                            J                               ( ] 422 APPEAL
    ( J 120     MARINE            [ ] 315 AIRPLANE PRODUCT     INJURY/PRODUCT LIABILITY                                              28 USC 158            [ J 376 QUI TAM
                                                                                           SEIZURE OF PROPERTY
    [1130       MにLERAC了               LIABILITY               [ J 365 PERSONAL INJURY                                     【 J 423 WITHDRAWAL              [ÿ 400 STATE
                                                                                                21 USC 881
    ( J 140     NEGOTIABLE  【】320 ASSAULT, LJBEL &                      PRODUCT LIABILITY                                          28 USC 157                       REAPPORTIONMENT
                                                               [ ] 368 ASBESTOS PERSONAL [ 690 OTHER
                                                                                            ]
                INSTRUMENT             SLANDER                                                                                                   [] 410 ANTITRUST
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                OVERPAYMENT &          EMPLOYERS'                       LIABILITY         PROPERTY RIGHTS                                        [ ] 450 COMMERCE
                ENFORCEMENT            LIABILITY                                                                                                 [ ] 460 DEPORTATION
                OF JUDGMENT  [ ] 340 MARINE               PERSONAL PROPERTY                  [ ] 820 COPYRIGHTS [ J 880 DEFEND TRADE SECRETS ACT [ J 470 RACKETEER INFLU¬
【 】151          MEDICARE ACT ( ) 345 MARINE PRODUCT                                          [ J 830 PATENT                                               ENCED & CORRUPT
  [1152         RECOVERY OF            LIABILITY          [ ] 370 OTHER FRAUD
                                                                                             | I 835 PATENT-ABBREVIATED NEW DRUG APPLICATION              ORGANIZATION ACT
                DEFAULTED    ( J 350 MOTOR VEHICLE       U 371 TRUTH IN LENDING                                                                           (RICO)
                STUDENT LOANSf ] 355 MOTOR VEHICLE                                           [ | 840 TRADEMARK                                   [ J 480 CONSUMER CREDIT
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            OF VETERAN'S
            BENEFITS
                              { 1 362 PERSONAL INJURY      -       PROPERTY DAMAGE
                                      MED MALPRACTICE [ ] 385 PROPERTY DAMAGE
                                                                                                                           f ) 862 BLACK LUNG (923)
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                                                                                             (   I 710 FAIR LABOR          [ ] 863 DIV/C/DIWW (405(g))
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            CONTRACT                                    | ] 463 ALIEN DETAINEE               [ J 740 RAILWAY LABOR ACT                                         890 OTHER STATUTORY
[ ] 195     CONTRACT                                    [ 1510 MOTIONS TO                                                                                 【】
                                                                                            [ ] 751 FAMILY MEDICAL       FEDERAL TAX SUITS                          ACTIONS
            PRODUCT         ACTIONS UNDER STATUTES                 VACATE SENTENCE          LEAVE ACT (FMLA)                                               ( J 891 AGRICULTURAL ACTS
            LIABILITY                                             28 USC 2255                                            [ ] 870 TAXES (U.S. Plaintiff or
[ J 196 FRANCHISE           CIVIL RIGHTS                [ ] 530 HABEAS CORPUS               [ | 790 OTHER LABOR                   Defendant)               f J 893 ENVIRONMENTAL
                                                        [ ] 535 DEATH PENALTY                        LITIGATION          [ ] 871 IRS-THIRD PARTY                    MATTERS
                                                        [
                            [ J 440 OTHER CIVIL RIGHTS J 540 MANDAMUS OTHER
                                                                            &               ( ] 791 EMPL RET INC                  26 USC 7609              [ J 895 FREEDOM OF
                                        (Non-Prisoner)                                               SECURITY ACT (ERISA)                                           INFORMATION ACT
REAL PROPERTY                                                                                                                                              ( J 896 ARBITRATION
                                I j 441 VOTING                                              IMMIGRATION                                                    [ J 899 ADMINISTRATIVE
(   1210       LAND             [ J 442 EMPLOYMENT             PRISONER CMし RIGHTS
               CONDEMNATION      [ ] 443 HOUSING/                                           [ J 462 NATURALIZATION
                                                                                                                                                              PROCEDURE ACT/REVIEW OR
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               EJECTMENT                             -
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                                          EMPLOYMENT            CONDITIONS OF CONFINEMENT
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I ]245         TORT PRODUCT      ( ] 446 AMERICANS WITH
               LIABILITY                  DISABILITIES OTHER
[   J 290      ALL OTHER          [ ) 448 EDUCATION
               REAL PROPERTY




            Check if demanded in complaint:
                                                                       DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

0           CHECK IF THIS IS A CLASS ACTION
            UNDER F.R.C.P. 23
                                                                       AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
                                                                       IF SO, STATE:

DEMAND           $N/A                 OTHER                          _ JUDGE Valerie E. Caproni                                    DOCKET NUMBER22發01 949—
Check YES only if demanded in complaint
JURY DEMAND: □ YES 区KJÿ                                                NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
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   区] 1   Original
          Proceeding
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                              State Court
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                                                                                                                                   g Multidistrict
                                                                                                                                      Litigation
                                                                                                                                                        j— i y Appeal to District
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                                                                                                                                      (Transferred)            Magistrate Judge
                                                             Appellate
                        □    a.   all parties represented    Court
                                                                                                                             I 18 Multidistrict Litigation (Direct File)
                         f-] b.   At least one party
                                  is pro se.
  (PLACE AN x IN ONE BOX ONLY)                                           BASIS OF JURISDICTION                                             IF DIVERSITY, INDICATE
  □ 1 U.S. PLAINTIFF □2 U.S. DEFENDANT [x] 3 FEDERAL QUESTION                                     ロ4    DIVERSITY                          CITIZENSHIP BELOW.
                                                                  (U.S. NOT A PARTY)

                                    CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
          (Place an [X] in one box for Plaintiff and one box for Defendant)

                                  PTF    DEF                                                     PTF DEF                                                         PTF       DEF
  CITIZEN OF THIS STATE           [ ]1   [11       CITIZEN OR SUBJECT OF A                       [ ]3[ ]3      INCORPORATED and PRINCIPAL PLACE                  [ )5      [ 15
                                                    FOREIGN COUNTRY                                            OF BUSINESS IN ANOTHER STATE

  CITIZEN OF ANOTHER STATE        [ ]2   [   J2    INCORPORATED or PRINCIPAL PLACE           l ]4[    ]4       FOREIGN NATION                                   l 16       [16
                                                    OF BUSINESS IN THIS STATE

  PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)




 DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)




 DEFENDANT(S) ADDRESS UNKNOWN
 REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
 THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                                  COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21 .




                                                  ___
Check one.      THIS ACTION SHOULD BE ASSIGNED TO:                               □ WHITE PLAINS                         回 MANHATTAN
                        /s/ Theresa Trzaskoma
DATE   4/20/2022                                                                                      ADMITTED TO PRACTICE IN THIS DISTRICT
                              SIGNATURE OF ATTORNEY OF RECORD                                         [ ] NO
                                                                                                      M YES (DATE ADMITTED Mo.           Vr. 2000
RECEIPT#                                                                                              Attorney Bar Code # 114175

Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge                                                           _                                             is so Designated.

Ruby J. Krajick, Clerk of Court bv                          _ Deputy Clerk, DATED                                                    _     .

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
         Case 1:03-md-01570-GBD-SN
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                         United States District Court
                                     for the
                        Southern District of New York
                                  Related Case Statement
                                  Full Caption of Later Filed Case:
In re Approximately $3.5 Billion of Assets
on Deposit at the Federal Reserve Bank of
New York in the Name of Da Afghanistan
Bank

                     Plaintiff                                        Case Number

                                                   22-CV-03228
                       vs.




                   Defendant

                                 Full Caption of Earlier Filed Case:
                 (including in bankruptcy appeals the relevant adversary proceeding)

James Owens, et al.,




                    Plaintiff                                        Case Number

                                                  22-cv-1949-VEC
                      vs.

Taliban a/k/a Islamic Emirate of
Afghanistan,



                   Defendant




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 Status of Earlier Filed Case:

         11      Closed
                            (If so, set forth the procedure which resulted in closure, e.g., voluntary
                            dismissal, settlement, court decision. Also, state whether there is an appeal
                            pending.)
        1ÿ1 Open            (If so, set forth procedural status and summarize any court rulings.)

 See description below.




Explain in detail the reasons for your position that the newly filed case is related to the
earlier filed case.
Plaintiffs, a 9/11 family who have judgments against the Taliban arising out of the 9/11
Attacks, bring this In rem class action pursuant to Rule 23(b)(1)(B) seeking equitable
distribution of approximately $3.5 billion of blocked assets on deposit at the Federal Reserve
Bank of New York in the name of Da Afghanistan Bank (the "DAB Assets"). This limited fund
class action is related to Owens v. Taliban, 22-cv-1949 (S.D.N.Y.) because on March 21,
2022, the Owens court granted a prejudgment order of attachment against the same DAB
Assets, and confirmed that order of attachment of the DAB Assets in an April 11, 2022
Opinion and Order. Owens, 22 cv 1949 (S.D.N.Y. Apr. 11, 2022), ECF 38.




Sj
                 Is/ Theresa Trzaskoma                                    Date:
                                                                                  April 20, 2022
                 Sher Tremonte LLP
Firm:


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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 In re Approximately $3.5 Billion of Assets on     Case No. 22-cv-03228
 Deposit at the Federal Reserve Bank of New
 York in the Name of Da Afghanistan Bank



        ORDER TO SHOW CAUSE FOR TEMPORARY RESTRAINING ORDER
                   AND FOR PRELIMINARY INJUNCTION

       Upon the Memorandum of Law In Support of Plaintiffs’ Motion for Temporary Restraining

Order and for Preliminary Injunction, the accompanying Declaration of Megan W. Benett, and the

accompanying exhibits, it is:

       ORDERED, that all parties with an interest in the approximately $3.5 billion of assets on

deposit at the Federal Reserve Bank of New York in the name of Da Afghanistan Bank (the “DAB

Assets”) show cause before a motion term of this Court, at Room ___, United States Courthouse,

500 Pearl Street, in the City, County, and State of New York, on _________ __, at __________

o’clock in the ____noon thereof, or as soon thereafter as counsel may be heard, why an order

should not be issued pursuant to the All Writs Act, 28 U.S.C. § 1651(a) to enjoin all judgment

enforcement proceedings in any court affecting the DAB Assets pending adjudication of Plaintiffs’

Class Action Complaint; it is further

       ORDERED, that sufficient reason having been shown, pending the hearing of Plaintiffs’

application for a preliminary injunction, all judgment enforcement proceedings in any court

affecting the DAB Assets are temporarily restrained and enjoined; it is further

       ORDERED, that notice of Plaintiffs’ Complaint, the Memorandum of Law In Support of

Plaintiffs’ Motion for Temporary Restraining Order and for Preliminary Injunction, the

accompanying Declaration of Megan W. Benett, and the accompanying exhibits shall have been
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provided to known Taliban judgment holders and other interested parties contemporaneously with

the filing of the above-captioned action by the filing of letters on the dockets of In re Terrorist

Attacks on September 11, 2001, 03-md-1570 (S.D.N.Y.) and Owens v. Taliban, 22-cv-01949

(S.D.N.Y.), and upon the Federal Reserve Bank of New York and its General Counsel,

Michael Held, via Federal Express, at 33 Liberty Street, New York, NY 10045; and it is further

       ORDERED, that service of a copy of this order upon known Taliban judgment holders

and other interested parties by the filings of letters attaching this order on the dockets of In re

Terrorist Attacks on September 11, 2001, 03-md-1570 (S.D.N.Y.) and Owens v. Taliban,

22-cv-01949 (S.D.N.Y.), and upon the Federal Reserve Bank of New York and its General

Counsel, Michael Held, via Federal Express, at 33 Liberty Street, New York, NY 10045, on or

before __________ o’clock in the _____noon, __________ ____, __________, shall be deemed

good and sufficient service thereof.


Dated: New York, New York
       April __, 2022

                                             SO ORDERED:


                                             ____________________
                                             U.S.D.J.
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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

In re Approximately $3.5 Billion of Assets on
Deposit at the Federal Reserve Bank of New      Case No. 22-cv-03228
York in the Name of Da Afghanistan Bank



   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
 TEMPORARY RESTRAINING ORDER AND FOR PRELIMINARY INJUNCTION


KREINDLER & KREINDLER LLP               SHER TREMONTE LLP

Megan Wolfe Benett                      Theresa Trzaskoma
Noah H. Kushlefsky                      Michael Tremonte
485 Lexington Avenue, 28th Floor        Max Tanner (application for admission forthcoming)
New York, New York 10007                Kathryn E. Ghotbi
Telephone: (212) 687-8181               90 Broad Street, 23rd Floor
Facsimile: (212) 972-9432               New York, New York 10004
mbenett@kreindler.com                   Telephone: (212) 202-2600
nkushlefsky@kreindler.com               Facsimile: (212) 202-4156
                                        ttrzaskoma@shertremonte.com
                                        mtremonte@shertremonte.com
                                        mtanner@shertremonte.com
                                        kghotbi@shertremonte.com

                                        -and-

                                        Samuel Issacharoff, Esq. (pro hac vice application
                                        forthcoming)
                                        40 Washington Square South
                                        New York, New York 10012
                                        Telephone: (212) 988-6580
                                        si13@nyu.edu

                                        Counsel for Plaintiffs The Estate of Christopher
                                        Wodenshek, Sarah Wodenshek, Haley Wodenshek,
                                        Mollie Wodenshek, William Wodenshek, and Zachary
                                        Wodenshek
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          Plaintiffs The Estate of Christopher Wodenshek, Anne Wodenshek, Sarah Wodenshek,

Haley Wodenshek, Mollie Wodenshek, William Wodenshek, and Zachary Wodenshek (together,

the “Wodensheks” or “Plaintiffs”), by their attorneys Kreindler & Kreindler LLP,

Sher Tremonte LLP, and Samuel Issacharoff, Esq., individually and on behalf of others similarly

situated, submit this memorandum of law in support of their motion for injunctive relief pursuant

to the All Writs Act, 28 U.S.C. § 1651(a), to, in aid of the Court’s jurisdiction, enjoin any judgment

enforcement proceedings in any court affecting approximately $3.5 billion of Taliban assets on

deposit at the Federal Reserve Bank of New York (“FRBNY”) in the name of Da Afghanistan

Bank (“DAB”) (the “DAB Assets”) pending adjudication of Plaintiffs’ Class Action Complaint

(the “Complaint” or “Compl.”).

                                 PRELIMINARY STATEMENT

          For nearly 20 years, Plaintiffs and thousands of other victims of the September 11, 2001

terrorist attacks (the “9/11 Attacks”) have sought to hold the Taliban accountable for its role in

sponsoring and facilitating the deadliest terrorist attack on U.S. soil, including by litigating civil

claims in the context of a multidistrict litigation. Yet, despite obtaining judgments, victims of the

9/11 Attacks and their families had little hope of recovery against the Taliban, not the least because,

since 1998, that terrorist organization and its leadership have been subject to severe economic

sanctions preventing them from transacting business or otherwise maintaining assets in the United

States.

          That changed on February 11, 2022, when President Joseph R. Biden signed Executive

Order 14064 (the “Executive Order”) concerning approximately $7 billion of assets held in the

name of Afghanistan’s central bank, DAB. The Executive Order and its accompanying “Fact

Sheet” directed that all DAB assets in the United States be consolidated in a blocked account at
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the FRBNY and earmarked approximately half ($3.5 billion)1 of those assets—the DAB Assets—

to benefit U.S. victims of terrorism.2 The Executive Order followed a series of unprecedented and

unforeseen historical events that resulted in the Taliban’s takeover of Afghanistan and the DAB

Assets in August 2021.

       The Executive Order sparked an uncoordinated race among victims of terrorism to collect

from the limited DAB Assets. Claimants rushed to establish (or in any event, to not lose) “priority”

under New York State’s default judgment enforcement rules. This, in turn, led other victims of

terrorism to join the race to claim “priority” to the DAB Assets. Consequently, the DAB Assets

are now the subject of two writs of execution in the combined amount of approximately $2.2

billion, with briefing on turnover proceedings already under way, and a prejudgment order of

attachment in excess of $4.7 billion. Meanwhile, Plaintiffs and hundreds of other victims of the

9/11 Attacks have pending motions to confirm damages awards of billions of dollars against the

Taliban.

       The $3.5 billion in DAB Assets, which constitute the sum total of assets available to satisfy

judgments against the Taliban, are insufficient to satisfy the writs of execution and attachment

order to which those assets are currently subject, let alone to satisfy other damages awards against

the Taliban that have been or will soon be granted. Adjudication of any individual claim or groups

of claims will be dispositive of—and will substantially impair the rights of—Plaintiffs and



1
  Unless otherwise noted, the “DAB Assets” are defined as the approximately $3.5 billion in DAB
funds that were not earmarked for Afghan humanitarian relief and were effectively earmarked for
U.S. victims of terrorism in the Executive Order.
2
  White House Fact Sheet, Executive Order to Preserve Certain Afghanistan Central Bank Assets
for     the   People      of    Afghanistan     (Feb.     11,     2022)    (emphasis      added),
https://www.whitehouse.gov/briefing-room/statements-releases/2022/02/11/fact-sheet-executive-
order-to-preserve-certain-afghanistan-central-bank-assets-for-the-people-of-afghanistan/.

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thousands of other terrorism victims. Indeed, if individual adjudications proceed under the “first

in time is first in right” approach, a small number of claimants will likely take the entire $3.5 billion

in DAB Assets for themselves, while Plaintiffs and thousands of other victims will likely recover

nothing—a profoundly inequitable outcome.

        The DAB Assets are a paradigmatic “limited fund” that is not remotely sufficient to satisfy

all claimants. In place of the current chaotic competition for these finite funds, Plaintiffs are asking

this Court to certify a class pursuant to Rule 23(b)(1)(B) composed of all persons and/or estates

with a compensatory damages claim against the Taliban on file in a U.S. court of record as of

April 20, 2022, where such claim arises directly out of an act of terrorism, where the injuries

suffered were proximately caused by that act of terrorism, and where the Taliban has been or likely

will be adjudged liable for those injuries, to declare that the DAB Assets are available to satisfy

the Class members’ judgments against the Taliban pursuant to Section 201 of the Terrorism Risk

Insurance Act,3 to hold the DAB Assets as a constructive trust for the benefit of all Class members,

and to establish and oversee an equitable distribution of the DAB Assets. A Rule 23(b)(1)(B)

mandatory limited fund class action is necessary here because it will ensure the “preservation and

equitable distribution of finite assets among competing claimants, thereby preventing the depletion

of available funds on a race-to-judgment basis.” Rule 23(b)(1)(B)—Overview, 1 McLaughlin on

Class Actions § 5:8 (18th ed.).

        Consistent with this effort to ensure an equitable distribution of the DAB Assets to U.S.

victims of Taliban terrorism, Plaintiffs respectfully request that the Court issue a temporary

restraining order and preliminary injunction in aid of the Court’s jurisdiction immediately



3
 Terrorism Risk Insurance Act, Pub. L. No. 107-297, 116 Stat. 2322–2341 (2002) (hereafter
“TRIA”).

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enjoining any judgment enforcement proceeding in any court affecting the DAB Assets pending

adjudication of Plaintiffs’ Complaint.4 The All Writs Act (“AWA”) authorizes the Court use such

an injunction to preserve its jurisdiction to adjudicate the claims in the Complaint, to prevent a

limited fund subject to a Rule 23(b)(1)(B) class action from being irreparably depleted during the

pendency of the proceedings, and to preserve the DAB Assets for the benefit of the entire proposed

Class.

                                  FACTUAL BACKGROUND

         A.     Plaintiffs and the 9/11 MDL

         As set forth more fully in the Complaint, Plaintiffs are The Estate of Christopher

Wodenshek, Anne Wodenshek, Sarah Wodenshek, Haley Wodenshek, Mollie Wodenshek,

William Wodenshek, and Zachary Wodenshek, (together, the “Wodensheks” or “Plaintiffs”).

Compl. ¶¶ 1, 11–13. Plaintiffs are the estate of Christopher Wodenshek, a thirty-five-year-old

victim of the 9/11 Attacks, and his surviving wife and five children, who were between the ages

of nine and two when their father was killed. Compl. ¶¶ 1, 11–13.

         In September 2002, the Wodensheks and certain other victims of the 9/11 Attacks and their

families filed a complaint against numerous defendants responsible for the 9/11 Attacks, including

the Taliban. Compl. ¶ 34. They and their fellow plaintiffs are represented by various counsel,

including leadership and members of the Plaintiffs’ Executive Committee (“PEC”) for Personal




4
  Plaintiffs seek to enjoin only judgment enforcement proceedings against the DAB Assets,
including in particular the Havlish and Doe turnover proceedings, but do not otherwise seek to
enjoin litigation seeking judgments against the Taliban as those underlying judgments will be
necessary for membership in the proposed Class and for recovery under TRIA. In this respect, the
Complaint involves a “participatory class action,” one arising out of existing litigations and
involving Class members who are individually represented by their own counsel. See Elizabeth J.
Cabraser & Samuel Issacharoff, The Participatory Class Action, 92 N.Y.U. L. REV. 846 (2017).

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Injury and Wrongful Death Claims (the “Wrongful Death PEC”) in the multi-district litigation

proceeding in which 9/11 Attacks-related claims have been consolidated. Compl. ¶¶ 2, 35.5

          Among those named to the Wrongful Death PEC were counsel for a group of forty-seven

9/11 wrongful death and injury plaintiffs known as the “Havlish Plaintiffs,”6 whose actions were

also consolidated within the 9/11 MDL. Compl. ¶ 37.7 As co-chairs of the PEC for Commercial

Claims (the “Commercial Claims PEC”), the 9/11 MDL court appointed counsel for a group of

insurance carriers known as the “Federal Insurance Plaintiffs.” Compl. ¶ 36. The Wrongful Death

and Commercial Claims PECs were instructed to work together whenever possible to promote the

orderly and efficient administration of the litigation and promote judicial economy. Compl. ¶ 36.8

          On September 15, 2004, the 9/11 MDL court authorized Plaintiffs and plaintiffs in several

other 9/11 MDL member-actions,9 to serve certain foreign defendants, including the Taliban, via

media publications. Compl. ¶ 38.10 The Taliban did not respond, and, in 2006, Plaintiffs, along




5
 See also In re Terrorist Attacks, 03-md-1570 (S.D.N.Y.); Ashton v. Al Qaeda Islamic Army, 02-
cv-6977 (S.D.N.Y. Sept. 10, 2002), ECF 2.
6
    Havlish v. Iran, 03-cv-9848 (S.D.N.Y.).
7
    In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. June 16, 2004), ECF 248-2 ¶ 6.
8
    See also In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. June 16, 2004), ECF 248-2 ¶ 3.
9
  Burnett v. Al Baraka Investment and Development Co., 03-cv-9849 (S.D.N.Y.) (the Burnett
Plaintiffs) and Federal Insurance Co. v. al Qaida, 03-cv-6978 (S.D.N.Y.) (the Federal Insurance
Plaintiffs). Plaintiffs in O’Neill v. Al Baraka Investment and Development Co., 04-cv-1923
(S.D.N.Y.) (the O’Neill Plaintiffs) were subsequently added to this publication service group on
October 31, 2004. Compl. ¶ 41; In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Oct. 31, 2014),
ECF 2908.
10
     In re Terrorist Attacks, 03-cv-1570 (S.D.N.Y.), ECF 445.

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with Burnett, O’Neill, and Federal Insurance Plaintiffs, obtained default liability judgments

against several defendants, including the Taliban, for their roles in the 9/11 Attacks. Compl. ¶ 38.11

           Between 2008 and 2011, the Havlish Plaintiffs separately sought default judgments against

foreign sovereign defendant Islamic Republic of Iran (“Iran”) and other defendants, including a

number of non-sovereign defendants, such as the Taliban. Compl ¶ 39. The 9/11 MDL court

granted default judgments in favor of the Havlish Plaintiffs and subsequently granted motions for

final damages judgments against the Taliban and other sovereign and non-sovereign defendants.

Compl. ¶ 39.

           In 2015, Plaintiffs obtained default judgments against Iran, and the 9/11 MDL court began

issuing final damages judgments on a rolling basis, with Plaintiffs receiving theirs on March 8,

2016. Compl. ¶ 40.12 The 9/11 MDL court issued individual damages awards for economic losses

in each of those cases, and $2,000,000 for conscious pain and suffering of each of the Ashton

Plaintiffs’ decedents killed in the 9/11 Attacks. Compl. ¶ 40.13 The 9/11 MDL court next awarded

solatium damages to immediate surviving family members, to include surviving spouses, children,

parents, siblings and/or their functional equivalents. Compl. ¶ 40. 14 The 9/11 MDL court

determined those damages values to be $12,500,000 for a spouse; $8,500,000 for a child or parent;

and $4,250,000 for a sibling. Compl. ¶ 40; see also id. 11–13 (identifying the amounts each of the


11
  See also Ashton v. Al Qaeda Islamic Army, 02-cv-06977 (S.D.N.Y.), ECF 528; In re Terrorist
Attacks, 03-md-1570 (S.D.N.Y. Apr. 27, 2006), ECF 1782, et seq.; id. (May 12, 2006) ECF 1797.
The Ashton Plaintiffs’ default liability judgment was issued on May 12, 2006, and applies to all
claims, plaintiffs and defendants included up to and through the Sixth Amended Complaint. In re
Terrorist Attacks, 03-md-1570 (S.D.N.Y. May 12, 2006), ECF 1797.
12
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Mar. 8, 2016), ECF 3226.
13
     Id.
14
     Id., 03-md-1570 (S.D.N.Y. June 16, 2016), ECF 3300.

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Wodensheks has received from the from the government-funded U.S. Victims of State Sponsored

Terrorism program).15 Despite those substantial judgments, no claimant has recovered close to the

full amounts, with nearly all of the families victimized in the 9/11 Attacks receiving no more than

5% of their judgments, and spouses and dependents of decedents generally receiving less than

0.76% of their judgments.16

          B.     The DAB Assets

          In 2020, the United States entered an agreement to withdraw its troops from Afghanistan.

Compl. ¶ 18. Following that withdrawal in the summer of 2021, the Taliban commenced a major

offensive and on August 15, 2021, the Taliban captured the capital of Kabul and Afghanistan’s

then-leadership abdicated, disbanded and/or fled Afghanistan. Compl. ¶ 18. Within a brief time,

the Taliban gained control of the entire country, including its central bank, DAB, and all of its

assets. Compl. ¶ 19. Since then, the Taliban has installed senior Taliban leaders as DAB leadership

and caused DAB to implement Taliban edicts. Compl. ¶ 19.

          Nearly contemporaneously with the Taliban’s takeover of Afghanistan and DAB, two

plaintiff groups obtained and served writs of execution on the FRBNY as to Taliban assets. Compl.

¶ 41. On August 27, 2021, the Havlish Plaintiffs obtained an order of execution and on September

13, 2021 served a writ of execution on the FRBNY in the amount of $7,045,632,402.79.17 At no

time did the Havlish Plaintiffs publicly docket their proposed or signed order of execution or their

writ against the Taliban in the 9/11 MDL or otherwise notify other parties to the 9/11 MDL about



15
     Id., ECF 3300 at Ex. A.
16
  See USVSST Special Master Reports to Congress published August 2017, February 2019 and
June 2020, available at http://www.usvsst.com/news.php (last accessed Apr. 18, 2022).
17
     Havlish, 03-cv-09848 (S.D.N.Y. Sept. 20, 2021), ECF 527 at 1.

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their plan, despite the fact that two of their attorneys sit on the Wrongful Death PEC. Compl. ¶ 41.

On September 27, 2021, a group of seven anonymous non-9/11 MDL plaintiffs known as the “Doe

Plaintiffs” served their writ in the amount of $138,418,741. Compl. ¶ 41.

       The United States promptly intervened and the Havlish and Doe courts granted stays of

any judicial enforcement of the respective writs of execution. Compl. ¶ 42. During the pendency

of those stays, the Ashton Plaintiffs moved for final judgments for damages against Iran’s

co-tortfeasor, the Taliban, seeking to extend to the Taliban the same damages awards ordered

against Iran. Compl. ¶ 42. The cumulative final damages awards sought in the Ashton Plaintiffs’

motions—which remain pending as of this filing—are nearly $30 billion. Compl. ¶ 42. Other 9/11

MDL plaintiffs also have pending motions for damages awards. Compl. ¶ 42.

       The stays of the Havlish and Doe Plaintiffs’ writs were extended pending the filing of a

Statement of Interest by the United States, which was ultimately filed on February 11, 2022, the

same day President Biden signed the Executive Order. Compl. ¶ 43. In effect, the Executive Order

obligated U.S. financial institutions to transfer all DAB funds to the FRBNY for consolidation in

a blocked account. Compl. ¶ 44. The Executive Order explicitly states that the President signed it

in part to benefit all victims of terrorism with claims against the Taliban: “I also understand that

various parties, including representatives of victims of terrorism, have asserted legal claims against

certain property of DAB or indicated in public court filings an intent to make such claims. This

property is blocked under this order.” Compl. ¶ 44.18




18
  Exec. Order No. 14064, 87 Fed. Reg. 8391 (2022) (acknowledging that victims’ claims were in
the midst of litigation; the Executive Order does not reflect an intent to earmark all $3.5 billion to
the then-current writholders).

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        C.     The Race for the DAB Assets

        Upon the filing of the U.S. Statement of Interest, the Havlish and Doe Plaintiffs requested

the stays be lifted. Compl. ¶ 46. On February 22, 2022, the 9/11 MDL court held a hearing at

which counsel for the United States and the Havlish, Doe, Ashton, O’Neill, and Federal Insurance

Plaintiffs, among others, apprised the court of their respective positions on lifting the stays.

Compl. ¶ 46. Counsel for the Ashton Plaintiffs urged the court to ensure fair treatment of all

plaintiffs in the 9/11 MDL with respect to the DAB Assets. Compl. ¶ 46. Ultimately, the stays

were lifted on March 2, 2022, triggering a flurry of activity as disparate plaintiff groups competed

for priority over the DAB Assets. Compl. ¶ 47.

        On March 20, 2022, the Havlish and Doe Plaintiffs filed motions for partial turnover as

to the DAB Assets in amounts sufficient to satisfy their respective compensatory damages awards

of $2,086,386,669 and $138,285,213.26. Compl. ¶ 48. Oppositions to those turnover motions are

due to be filed today, April 20, 2022. Compl. ¶ 48. If turnover is granted, the DAB Assets will be

diminished by nearly two-thirds.

        Further, on March 8, 2022, more than twenty-three years after al Qaeda’s August 7, 1998

bombings of the U.S. embassies in Nairobi, Kenya and Dar es Salaam, Tanzania, individuals

allegedly injured or killed in the bombings (or their estates) and their family members (together,

the “Owens Plaintiffs”) filed a complaint, solely against the Taliban, seeking compensatory and

punitive damages. Compl. ¶ 49. The Owens Plaintiffs also moved on an emergency basis (citing

the Havlish and Doe Plaintiffs’ September 2021 service of writs of execution against the DAB

Assets) for a prejudgment order of attachment against the DAB Assets for an amount in excess

of $4,669,011,012.21. Compl. ¶ 49. A stated purpose of this emergency application for

attachment was to obtain priority over other plaintiffs with claims against the Taliban. Compl.

¶ 49.

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         On March 22, 2022, the Owens court granted a prejudgment attachment as to

$1,373,761,042.95 of the DAB Assets (reflecting the compensatory damages portion of the

$4,669,011,012.21 the Owens Plaintiffs claim in damages). Compl. ¶ 50. In a subsequent Opinion

and Order, the Owens court explicitly recognized that the limited DAB Assets are insufficient to

satisfy all deserving victims of terrorism with claims against the Taliban and that New York State’s

default judgment enforcement rules have incentivized this inequitable race-to-judgment in pursuit

of the DAB Assets. Compl. ¶ 50.

                The unfortunate reality that the numerous victims of acts of terror
                perpetrated by the Taliban may not collect on judgments is not lost
                on the Court, and the Court does not seek to engage in
                gamesmanship over which victims are more deserving to collect on
                the limited funds available. New York law contemplates that
                pre-judgment attachment provides priority among creditors.19

         Also on March 22, 2022, counsel for the above-referenced Federal Insurance Plaintiffs in

the 9/11 MDL, and co-chair of its Commercial Claims PEC, filed a letter (the “Priority Settlement

Letter”) apprising the 9/11 MDL court that the Federal Insurance Plaintiffs and certain other

groups of plaintiffs, including the Havlish and Doe Plaintiffs (together, the “Settling MDL

Plaintiffs”), had “reached agreement in principle” effectively allocating priority among themselves

over the DAB Assets, including that portion subject to attachment by the Owens Plaintiffs (the

“Priority Settlement”). Compl. ¶ 51.

         On March 22 and 23, 2022, the Bauer Plaintiffs and Schneider Plaintiffs voiced objections

to the Priority Settlement on the basis that this proposed resolution is inequitable and conflicts with

the explicit motivation of the Executive Order—to compensate all U.S. victims of terrorism with

claims against the Taliban. Compl. ¶ 52. Plaintiffs (and many others) declined to participate in the



19
     Owens, 22-cv-01949 (S.D.N.Y. April 11, 2022), ECF 38 (emphasis added).

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Priority Settlement because, if allowed, it will result in a highly inequitable distribution of the

DAB Assets, such that a relatively small number of claimants will receive an outsized portion of

the funds, and most other claimants will receive only a tiny fraction of that recovery. Compl. ¶ 53.

         On April 6, 2022, the 9/11 MDL court granted the Federal Insurance Plaintiffs’ motion for

a partial final default judgment against the Taliban, for a total award, excluding prejudgment

interest, of $9,351,247,965.99 (approximately $3.1 billion of which is for compensatory damages).

Compl. ¶ 54. In granting the motion, the 9/11 MDL court noted that there were more than a dozen

motions for default judgment against the Taliban pending on the MDL, including the Ashton

Plaintiffs’ motion which (encompassing the Wodensheks’ claims) seeks damages of nearly $30

billion. Compl. ¶ 54. Although the 9/11 MDL court directed “all plaintiffs to continue to meet and

propose strategies for an efficient and fair process to adjudicate pending default judgment

motions,” it also authorized the Federal Insurance Plaintiffs to “execute on and enforce the[ir]

judgment immediately.” Compl. ¶ 54.20 Since then, the 9/11 MDL court has been reviewing other

plaintiffs’ pending motions for damages judgments against the Taliban.

         Accordingly, the DAB Assets are currently subject to two writs of execution and a

prejudgment attachment order. Compl. ¶ 55. And the Federal Insurance Plaintiffs are likely to

execute on their damages judgment any day. Compl. ¶ 55. The dollar amounts contemplated by

the writs and attachment order alone well exceed the $3.5 billion in DAB Assets, and they reflect

only a tiny fraction of those who have obtained or who will obtain judgments against the Taliban

based on acts of terrorism. Compl. ¶ 55. Thus, absent the relief Plaintiffs seek—including, but not

limited to, through this motion—thousands of terror victims with claims against the Taliban who

are not members of the Havlish, Doe, and Owens Plaintiffs (or the Settling MDL Plaintiffs, should


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     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Apr. 6, 2022), ECF 7833.

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the Owens Plaintiffs be unable to execute) are all but guaranteed to recover either very little or

nothing from the DAB Assets. Compl. ¶ 55.

        D.         The Limited Fund Class Action

        Plaintiffs filed their Complaint seeking certification of a “limited fund” Rule 23(b)(1)(B)

class in order to end the uncoordinated and inequitable race to win priority regarding the DAB

Assets under New York State’s default judgment enforcement rules. Pursuant to their Complaint,

Plaintiffs seek:

             a) an immediate order in aid of the Court’s jurisdiction enjoining any judgment

                   enforcement proceeding in any court affecting the DAB Assets pending

                   adjudication of Plaintiffs’ Complaint;

             b) certification of a mandatory class composed of all persons and/or estates with a

                   compensatory damages claim against the Taliban on file in a U.S. court of record

                   as of April 20, 2022, where such claim arises directly out of an act of terrorism,

                   where the injuries suffered were proximately caused by that act of terrorism, and

                   where the Taliban has been or likely will be adjudged liable for those injuries;

             c) a declaration that the DAB Assets are available to satisfy the Class members’

                   judgments against the Taliban under Section 201 of TRIA;

             d) the imposition of a constructive trust over the DAB Assets for the benefit of all

                   Class members; and

             e) distribution of the DAB Assets on an equitable basis to all Class members.

        The express purpose of this proposed Class Action is to create an orderly and equitable

distribution of the DAB Assets to all victims of acts of terrorism who have obtained or who will

obtain a judgment for compensatory damages against the Taliban.



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       The All Writs Act empowers this Court to stay all pending proceedings that would

undermine the Court’s jurisdiction to decide Plaintiffs’ request for Rule 23(b)(1)(B) Class

certification. 28 U.S.C. § 1651 (1988) (empowering federal courts to issue “all writs necessary or

appropriate in aid of their respective jurisdictions”). 21 Such jurisdiction-threatening judgment

enforcement litigation includes the pending Havlish and Doe turnover proceedings.

       Plaintiffs’ requested relief is in complete accord with the “purpose” of a preliminary

injunction: “to preserve the status quo by preventing during the pendency of the suit the occurrence

of that irreparable sort of harm which the movant fears will occur.” Kane v. De Blasio, 19 F.4th

152, 163 (2d Cir. 2021) (quoting New York v. Nuclear Regulatory Comm’n, 550 F.2d 745, 754 (2d

Cir. 1977)). Allowing any of the pending judgment collection actions to proceed “would

substantially impair or impede the interests of other” claimants “and would significantly deplete

the assets available to resolve all pending and future cases.” Id. “The need to end this drain of

[defendant’s] assets is especially acute” where, as here, the rate at which judgments will be

satisfied threatens dissipation of a limited fund. Id.

       As set forth further below, an injunction is appropriate under the AWA because it is

necessary to preserve the Court’s jurisdiction over the DAB Assets and the Court’s ability to

adjudicate the Complaint. It is also appropriate because Plaintiffs can demonstrate: “(1) a

likelihood of success on the merits or . . . sufficiently serious questions going to the merits to make

them a fair ground for litigation . . .; (2) a likelihood of irreparable injury in the absence of an

injunction; (3) that ‘the balance of hardships tips in [favor of injunctive relief]; and (4) that the



21
  Federal courts can issue such injunctions “even before a federal judgment is reached[.]” In re
Baldwin-United Corp., 770 F.2d 328, 335 (2d Cir. 1985).

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public interest would not be disserved by the issuance of an injunction.” Benihana, Inc. v.

Benihana of Tokyo, LLC, 784 F.3d 887, 895 (2d Cir. 2015) (first alteration in original) (quoting

Salinger v. Colting, 607 F.3d 68, 79–80 (2d Cir. 2010)) (internal quotation marks omitted).22

       A.      The Court Has Subject Matter Jurisdiction and Plaintiffs Are Likely to
               Succeed on Their Claim

       There is no question that this Court has subject matter jurisdiction to adjudicate the claim

raised in the Complaint. Numerous federal questions are at issue, including under the

Anti-Terrorism Act and TRIA. In addition, this Court has jurisdiction under the Air Stabilization

Act, which confers original jurisdiction over claims “resulting from or relating to” the 9/11

Attacks. Compl. ¶ 9.

       In addition, Plaintiffs are likely to succeed on the merits of their claim in two important

respects. First, a Rule 23(b)(1)(B) class is likely to be certified. Second, that Class is likely to

prevail in obtaining a declaration that the DAB Assets are available under TRIA to satisfy

judgments against the Taliban based on acts of terrorism.

               1.      The DAB Assets Are a Limited Fund Amenable to a Rule 23(b)(1)(B)
                       Class Action

       A Rule 23(b)(1)(B) class may be maintained if: (1) prosecuting separate actions by or

against individual class members would create a risk of: . . . (B) adjudications with respect to

individual class members that, as a practical matter, would be dispositive of the interests of the

other members not parties to the individual adjudications or would substantially impair or impede




22
   The standard for an entry of a temporary restraining order is “the same as for a preliminary
injunction.” Basank v. Decker, 449 F. Supp. 3d 205, 210 (S.D.N.Y. 2020).

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their ability to protect their interests.” Fed. R. Civ. P. 23(b)(1)(B). The Rule’s drafters discussed

as a “classic” Rule 23(b)(1)(B) case one in which

               an adjudication as to one or more members of the class will
               necessarily be or probably have an adverse practical effect on the
               interests of other members who should therefore be represented in
               the lawsuit. This is plainly the case when claims are made by
               numerous persons against a fund insufficient to satisfy all claims. A
               class action by or against representative members to settle the
               validity of the claims as a whole, or in groups, followed by separate
               proof of the amount of each valid claim and proportionate
               distribution of the fund meets the problem.

Fed. R. Civ. P. 23(b)(1)(B) Advisory Committee’s Notes (1966). In such a scenario, “[t]he vice of

an individual action would lie in the fact that the other members of the class, thus practically

concluded, would have no representation in the suit.” Id. Certification of the “limited fund” class

captures all claimants to the limited fund and recoveries on the claims are reduced to ensure

equitable distributions of the fund among all class members.

       In general, a “limited fund” class action under Rule 23(b)(1)(B) requires: (1) “a fund with

a definitely ascertained limit,” (2) “all of which would be distributed to satisfy all those with

liquidated claims based on a common theory of liability,” (3) “by an equitable, pro rata

distribution.” Ortiz v. Fibreboard Corp., 527 U.S. 815, 838–41 (1999) (internal quotation marks

omitted). The DAB assets are plainly amenable to a Rule 23(b)(1)(B) class action.

       First, the DAB Assets are a paradigmatic “limited fund.” This clearly ascertainable pool

of funds constitutes the only assets available to satisfy judgments against the Taliban; it was

created by Executive fiat not by agreement of the parties. Nor are the parties responsible for the

fact that there are no identifiable Taliban funds other than the DAB Assets. Rather, that is the result

of longstanding sanctions against the Taliban that bar it and its leadership from transacting

business or otherwise possessing property within the United States. Further, the Taliban’s ability

to lay claim to the DAB Assets, and thus the availability of those assets to satisfy judgments against

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the Taliban, is a function of unanticipated, unprecedented historical circumstances that will not be

repeated.

       This limited fund is insufficient to satisfy all claimants. “The concept driving this type of

[Rule 23(b)(1)(B)] suit was insufficiency, which alone justified the limit on an early feast to avoid

a later famine.” Ortiz, 527 U.S. at 838. The approximately $3.5 billion in DAB Assets are already

the subject of two writs of execution in the combined amount of approximately $2.2 billion, with

briefing on turnover proceedings already underway, and a prejudgment order of attachment in

excess of $4.7 billion. Further, the Federal Insurance Plaintiffs may execute on their $9.4 billion

damages at any time, 23 and there are many more plaintiffs expected to soon receive damages

awards, including the Ashton Plaintiffs group of which Plaintiffs are part, who are seeking

confirmation of more than $30 billion in compensatory damages. The DAB assets will not satisfy

even existing compensatory damages judgments against the Taliban, let alone be sufficient to

satisfy judgments that will come in the near future. Unless the DAB Assets are treated as a limited

fund, they are likely to be depleted in their entirety by a small handful of individual litigants, to

the detriment of thousands of other terrorism victims.24




23
   On April 20, 2022, the 9/11 MDL court affirmed the Federal Insurance Plaintiffs’ prejudgment
interest calculation, enabling their Final Judgment to issue. See In re Terrorist Attacks,
03-md-1570 (S.D.N.Y. Apr. 20, 2022), ECF 7888.
24
  Further, equitable distribution of the DAB Assets as a Rule 23(b)(1)(B) limited fund would not
be inconsistent with New York’s judgment enforcement rules, which pursuant to CPLR § 5240
grant courts broad discretion in “denying, limiting, conditioning, regulating, extending or
modifying the use of any enforcement procedure.” CPLR § 5240. Application of Rule 23(b)(1)(B)
would simply make mandatory what is within the court’s discretion under the CPLR. But even if
there were some conflict between New York law and this limited fund class action under
Rule 23(b)(1)(B), the federal class action prevails. See Shady Grove Orthopedic Assocs., P.A. v.
Allstate Ins. Co., 559 U.S. 393, 401 (2010) (holding that Rule 23 governs even when the
maintenance of a class action collides with state law).

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       Second, a determination by the Court that the DAB Assets constitute a limited fund inures

solely to the benefit of the numerous Class members with claims against the Taliban, rather than

the Taliban itself. Cf. Geiss v. Weinstein Co., 474 F. Supp. 3d 628, 635 (S.D.N.Y. 2020) (“Put

simply, a fund is not limited just because the parties say so.”). As described in Ortiz, “The limited

fund cases thus ensured that the class as a whole was given the best deal; they did not give a

defendant a better deal than seriatim litigation would have produced.” 527 U.S. at 839.

       The DAB Assets are available to satisfy claims against the Taliban only as a result of a

confluence of unforeseen occurrences—the U.S. military’s departure from Afghanistan and the

Taliban’s takeover of Afghanistan and all of its state organs, including DAB—and the Executive

Order consolidating the DAB Assets. Seriatim litigation will not result in the identification of

additional assets available to satisfy judgments against the Taliban—there are no such amounts

available. Indeed, although thousands of plaintiffs in the 9/11 MDL have held judgments against

the Taliban for more than fifteen years, there were no judgment enforcement efforts until recent

events provided a basis for executing on the DAB Assets.

       Third, Plaintiffs seek an equitable distribution of the DAB Assets in accordance with Ortiz,

which contemplated limited fund classes “compris[ing] everyone who might state a claim on a

single or repeated set of facts, invoking a common theory of recovery, to be satisfied from the

limited fund as the source of payment.” 527 U.S. at 839. The proposed Class is drawn narrowly

enough to track the language of the Executive Order “Fact Sheet” (“U.S. victims of terrorism,

including relatives of victims who died in the September 11, 2001 terrorist attacks”)25 and broadly



25
  White House Fact Sheet, Executive Order to Preserve Certain Afghanistan Central Bank Assets
for the People of Afghanistan (Feb. 11, 2022), https://www.whitehouse.gov/briefing-
room/statements-releases/2022/02/11/fact-sheet-executive-order-to-preserve-certain-afghanistan-
central-bank-assets-for-the-people-of-afghanistan/.

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enough to encompass all existing plaintiffs with claims on file against the Taliban who may be

eligible to recover the DAB Assets under Section 201 of TRIA. It does not exclude “anyone whose

claim shared the common theory of liability and would contribute to the calculated shortfall of

recovery.” Ortiz, 527 U.S. at 840.

                 2.     TRIA Authorizes Class Members to Execute on the DAB Assets

         Class members are entitled to enforce judgments under TRIA upon satisfaction of four

elements: (1) possession of a “judgment against a terrorist party”; (2) arising from an act of

terrorism; (3) seeking to execute against “blocked assets” within the meaning of TRIA (i.e.,

blocked assets of that terrorist party or an agency or instrumentality of that terrorist party); (4) to

the extent of their “compensatory damages.” Weininger v. Castro, 462 F. Supp. 2d 457, 479

(S.D.N.Y. 2006). Class members will be able to satisfy all four TRIA elements.

         As defined, the Class consists of those “with a compensatory damages claim against the

Taliban. . . where such claim arises directly out of an act of terrorism” and “where the Taliban has

been or likely will be adjudged liable.” The Taliban is unquestionably a “terrorist party” within

the meaning of TRIA,26 and Section 201 of TRIA permits judgment creditors to execute against

property belonging to “an agency or instrumentality of the terrorist party, even if the agency or

instrumentality is not itself named in the judgment.” Kirschenbaum v. 650 Fifth Ave. & Related

Props., 830 F.3d 107, 132 (2d Cir. 2016). The DAB Assets are indeed the property of DAB; they

are held at FRBNY in an account under DAB’s name and are identified as such in the Executive

Order, which directed that “[a]ll property and interest in property of DAB that are held as of the

date of this order” be consolidated in the blocked FRBNY account. Executive Order § 1(a)–(b).

And Class members will be able to demonstrate that DAB is an agency or instrumentality of the


26
     Exec. Order No. 13268, 3 C.F.R. 13268 § 1 (2002); 31 C.F.R. §§ 594.310, 594.311 (2016).

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Taliban, which has installed senior Taliban leaders as DAB leadership, 27 and caused DAB to

implement Taliban edicts.28 Kirschenbaum, 830 F.3d. at 135 (deeming an entity an agency or

instrumentality if it is “a means through which a material function of the terrorist party is

accomplished,” if it provides “material services to, on behalf of, or in support of the terrorist party,”

or if it is “owned, controlled, or directed by the terrorist party”). Finally, pursuant to the Executive

Order the DAB Assets are “blocked assets.”

         Accordingly, Plaintiffs are likely to succeed on the merits in their Rule 23(b)(1)(B) action.

         B.     An Injunction Is Necessary to Protect the Court’s Jurisdiction and to
                Prevent Irreparable Harm

         The DAB Assets are already subject to writs of execution served by the Havlish and Doe

Plaintiffs, both of which filed motions for partial turnover as to the DAB Assets on March 20,

2022, in amounts sufficient to satisfy their respective compensatory damages awards of

$2,086,386,669 and $138,285,213.26.29 And pursuant to their prejudgment attachment order, the

Owens Plaintiffs’ claim to have effectively secured the remainder of the DAB Assets. Should the


27
   See, e.g., Ian Talley, et al., Sactioned Taliban Finance Leader Holds Leadership Post at Afghan
Central Bank, WALL ST. J. (Mar. 11, 2022), https://www.wsj.com/articles/sanctioned-taliban-
financier-tapped-to-help-lead-afghan-central-bank-11647003720?mod=newsviewer_click
(appointing Noor Ahmad Agha as DAB first deputy governor); Eltaf Najafizada, Taliban Name
Obscure Official as Central Bank Chief with Crisis Looking, BLOOMBERG (Aug. 23, 2021),
https://www.bloomberg.com/news/articles/2021-08-23/taliban-name-obscure-official-central-
bank-chief-ascrisis-looms (appointing Haji Mohammed Idris DAB Acting Governor); Da
Afghanistan Bank, DAB Leadership Holds Meeting with the High Ranking Officials of
Commercial Banks (Sept. 11, 2021), https://www.dab.gov.af/dab-leadership-holds-meeting-high-
ranking-officials-commercial-banks (announcing Taliban takeover of Da Afghanistan Bank).
28
   See James Mackenzie and Mohammad Yunus Yawar, Afghan Central Bank Moves to Halt
Currency       Slide     As      Crisis   Deepens,       REUTERS       (Dec.     14,      2021),
https://www.reuters.com/markets/currencies/afghanistan-central-bank-says-it-is-acting-halt-
currency-slide-2021-12-14/ (describing Taliban efforts to utilize the DAB, among other entities,
to stabilize Afghanistan’s currency).
29
     In re Terrorist Attacks, 03-md-1570 (S.D.N.Y. Mar. 20, 2022), ECF 7763–71.

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Havlish and Doe Plaintiffs’ turnover motions be granted, the DAB Assets will be permanently

dissipated, reducing the available Taliban assets from which Class members can seek recovery and

irreparably harming each such member.

       If this limited fund of DAB Assets is dissipated, not only will Plaintiffs and other members

of the Class be irreparably harmed because they will not be able to collect on their own judgments

against the Taliban, but the Court will not be able to adjudicate on the merits the claims in the

Complaint. An injunction is necessary, therefore, “to preserve this Court’s jurisdiction over the

proposed class action and over the limited fund, and to protect any judgment issued [t]herein.” In

re Joint E. & S. Dist. Asbestos Litig., 14 F.3d 726, 729 (2d Cir. 1993).

       As for the harm to the Class, “[t]he key word” when analyzing this factor is “irreparable.”

Sampson v. Murray, 415 U.S. 61, 90 (1974). “Mere injuries, however substantial, in terms of

money, time and energy necessarily expended in the absence of a stay, are not enough.” Id. But

more is at stake in his case given the nature of the DAB Assets and the unprecedented

circumstances that led to the creation of this limited fund. In In re Joint Eastern and Southern

Districts Asbestos Litigation, for example, defendant The Keene Corporation sought “a temporary

restraining order staying all asbestos litigation then pending and thereafter commenced in which

it was a defendant.” No. CV 93-2129, 1993 WL 604077, at *1 (E.D.N.Y. & S.D.N.Y. July 1,

1993). The restraining order was issued after the special master’s preliminary statement identified

an “immediate and irreparable harm to th[e] fund should Keene be required to make further

payments to asbestos claimants.” Id. (emphasis added). A comparably immediate and irreparable

harm will occur should the DAB Assets be depleted on an ad hoc basis in satisfaction of individual

judgments. Indeed, if the Havlish and Doe Plaintiffs are successful in seeking turnover, more than




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two-thirds of the DAB Assets will be dissipated before the Court can even consider whether to

certify a limited fund class.

       Although, in general, monetary injury is not a basis for a finding of irreparable harm, see

Jackson Dairy, Inc. v. H.P. Hood & Sons, Inc., 596 F.2d 70, 72 (2d Cir. 1979), here the dissipation

of the DAB Assets itself interferes with the Court’s ability to adjudicate Plaintiffs’ Complaint.

Further, in analogous circumstances, the Second Circuit has found an “insolvency exception” to

the general rule which holds that irreparable harm is present where assets will be permanently

dissipated absent injunctive relief. See Brenntag Int’l Chemicals, Inc. v. Bank of India, 175 F.3d

245, 249 (2d Cir. 1999) (stating that the insolvency exception occurs when “but for the grant of

equitable relief, there is a substantial chance that upon final resolution of the action the parties

cannot be returned to the positions they previously occupied”).

       Accordingly, irreparable harm will unquestionably result in the absence of injunctive relief.

       C.      The Balance of Hardships and the Public Interest Weigh Heavily in Favor of
               an Injunction

       “In determining whether the balance of the equities tips in the plaintiff’s favor and whether

granting the preliminary injunction would be in the public interest, the Court ‘must balance the

competing claims of injury and must consider the effect on each party of the granting or

withholding of the requested relief, as well as the public consequences in employing the

extraordinary remedy of injunction.’” Bionpharma Inc. v. CoreRx, Inc., 21-cv-10656, 2022 WL

246742, at *8 (S.D.N.Y. Jan. 27, 2022) (quoting Yang v. Kellner, 458 F. Supp. 3d 199, 216

(S.D.N.Y. 2020), aff’d sub nom, Yang v. Kosinski, 805 F. App’x 63 (2d Cir. 2020), and aff’d sub

nom, Yang v. Kosinski, 960 F.3d 119 (2d Cir. 2020)).

       In this instance, the hardships are solely those of Plaintiffs and other members of the Class.

In the absence of the requested injunction, small groups—the Havlish, Doe, and Owens Plaintiffs,


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members of the proposed Class in their own right—stand to claim the DAB Assets in their entirety

and, in so doing, deprive all other members of the Class, including Plaintiffs, of the opportunity to

be heard as to their entitlement to these funds. By contrast, Plaintiffs’ requested injunction would

do no harm to the Havlish, Doe, and Owens Plaintiffs. It would merely maintain the status quo

pending certification (or not) of the Class. The injunction would neither upset the Havlish, Doe,

and Owens attachments to the DAB Assets, nor would it preclude them from seeking turnover of

the DAB Assets should the Court ultimately decline to certify the Class.

       Finally, the public interest is unquestionably best served by the requested injunction. The

9/11 Attacks were the most lethal terrorist attack in history and thousands of victims and their

families have litigated claims against the Taliban in the 9/11 MDL for nearly two decades. Victims

of other terrorist attacks too, such as the Owens Plaintiffs, also have claims against the Taliban.

Any turnover or other dissipation of the DAB Assets would irreversibly diminish the only Taliban

assets available in the United States to satisfy such claims against the Taliban.

       Plaintiffs’ express intention in filing their Complaint is for the DAB Assets to be made

available to all Class members, and not just the Havlish, Doe and Owens Plaintiffs (or even the

Settling MDL Plaintiffs). Plaintiffs have no interest in depriving the Havlish, Doe, and Owens

Plaintiffs of opportunities for recovery, and the issuance of the requested injunction would have

no such effect. Plaintiffs simply ask the Court to oversee a process by which those plaintiffs are

treated the same as all other similarly situated victims of the Taliban with claims on file. The

requested injunctive relief would ensure the apportionment of these funds pursuant to a

well-considered process rather than a race to the courthouse, and would uphold fairness, ensure

the directive of the Executive Order is upheld, and allow all claimants to be heard. This is squarely

in the public interest, and consistent with Rule 23(b)(1)(B).



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        Accordingly, the balance of hardships and the public interest weigh decidedly in favor of

injunctive relief.

                                          CONCLUSION

        For the above stated reasons, Plaintiffs respectfully request that the Court enter a temporary

restraining order and preliminary injunction enjoining any judgment enforcement proceedings in

any court affecting the approximately $3.5 billion of Taliban assets on deposit at the Federal

Reserve Bank of New York in the name of Da Afghanistan Bank pending adjudication of

Plaintiffs’ Complaint.30




30
  Plaintiffs are providing notice of the Complaint and this Motion to potentially interested parties
by attaching the filings to letters submitted to the 9/11 MDL and Owens courts. Plaintiffs also are
providing notice to FRBNY by delivering copies by express mail to the office of the General
Counsel.

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Dated: New York, New York
       April 20, 2022

KREINDLER & KREINDLER LLP           SHER TREMONTE LLP

Megan Wolfe Benett                  By: /s/ Theresa Trzaskoma
Noah H. Kushlefsky                       Theresa Trzaskoma
485 Lexington Avenue, 28th Floor         Michael Tremonte
New York, New York 10007                 Max Tanner (application for admission forthcoming)
Telephone: (212) 687-8181                Kathryn E. Ghotbi
Facsimile: (212) 972-9432           90 Broad Street, 23rd Floor
mbenett@kreindler.com               New York, New York 10004
nkushlefsky@kreindler.com           Telephone: (212) 202-2600
                                    Facsimile: (212) 202-4156
                                    ttrzaskoma@shertremonte.com
                                    mtremonte@shertremonte.com
                                    mtanner@shertremonte.com
                                    kghotbi@shertremonte.com

                                    -and-

                                    Samuel Issacharoff, Esq. (pro hac vice application
                                    forthcoming)
                                    40 Washington Square South
                                    New York, New York 10012
                                    Telephone: (212) 988-6580
                                    si13@nyu.edu

                                    Counsel for Plaintiffs The Estate of Christopher
                                    Wodenshek, Sarah Wodenshek, Haley Wodenshek, Mollie
                                    Wodenshek, William Wodenshek, and Zachary Wodenshek




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

    In re Approximately $3.5 Billion of Assets on   Case No. 22-cv-03228
    Deposit at the Federal Reserve Bank of New
    York in the Name of Da Afghanistan Bank



                       DECLARATION OF MEGAN WOLFE BENETT

         I, MEGAN WOLFE BENETT, Esq., pursuant to 28 U.S.C. § 1746, hereby declare under

penalty of perjury that the following is true and correct:

         1.     I am a partner at the law firm of Kreindler & Kreindler LLP (“Kreindler &

Kreindler”), in New York, NY. I represent Plaintiffs1 (the Wodensheks) in the above-captioned

action and, along with numerous other victims of the 9/11 Attacks, in connection with Ashton v.

Al Qaeda Islamic Army, 02-cv-6977 (S.D.N.Y.). I make this declaration in support of Plaintiffs’

Motion for Temporary Restraining Order and for Preliminary Injunction.

         2.     Plaintiffs in this action are the Estate of Christopher Wodenshek, a thirty-five-year-

old victim of the 9/11 Attacks, his surviving wife Anne Wodenshek, and his five children, Sarah

Wodenshek, Haley Wodenshek, Mollie Wodenshek, William Wodenshek, and Zachary

Wodenshek, who were between the ages of nine and two at the time of their father’s murder.

         3.     In September 2002, the Wodensheks and certain other victims of the 9/11 Attacks

and their families filed a complaint against numerous defendants responsible for the 9/11 Attacks,

including the Taliban, under the caption Ashton v. Al Qaeda Islamic Army, 02-cv-6977




1
  All capitalized terms not otherwise defined in this Declaration have the meanings ascribed to
them in the accompanying Memorandum of Law in Support of Plaintiffs’ Motion for Temporary
Restraining Order and for Preliminary Injunction.
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(S.D.N.Y.).2 Theirs was one of multiple actions commenced in the S.D.N.Y. and in the District of

Columbia beginning in 2002, which were eventually consolidated by the Judicial Panel for Multi-

District Litigation into the 9/11 MDL.

       4.      The Ashton Plaintiffs (which include the Wodensheks) are represented by various

counsel in the 9/11 MDL, including myself and leadership and members of the 9/11 MDL’s

Wrongful Death PEC. In the 9/11 MDL, Plaintiffs have diligently pursued claims related to

Christopher Wodenshek’s murder through all the complexities attendant to the prosecution of

terrorism-related litigation. They have pursued multiple avenues for relief against multiple 9/11

Attacks conspirators, sometimes in coordination with other plaintiffs groups. At all times since the

9/11 MDL’s inception, Plaintiffs and their counsel have worked within its framework to support

and advance an equitable judgment enforcement process to ensure that all similarly situated

victims of the 9/11 Attacks receive the relief to which they are entitled.

       5.      On September 15, 2004, the 9/11 MDL court authorized the Ashton Plaintiffs and

plaintiffs in several other 9/11 MDL member-actions, to serve certain foreign defendants,

including the Taliban, via media publications. The Taliban did not respond, and, in 2006, the

9/11 MDL court granted motions for default liability in favor of the Ashton, Burnett, O’Neill, and

Federal Insurance Plaintiffs.3 Between 2008 and 2011, the Havlish Plaintiffs’ counsel sought

default judgments against a number of defendants, including the Taliban, which were subsequently




2
  Plaintiffs were first named in the Ashton Plaintiffs’ First Amended Complaint, 02-cv-6977
(S.D.N.Y. Sept. 10, 2002), ECF 2.
3
  The Ashton Plaintiffs’ default liability judgment was issued on May 12, 2006, and applies to all
claims, plaintiffs and defendants included up to and through the Sixth Amended Complaint.
02-cv-6977 (S.D.N.Y. May 12, 2006), ECF 528.

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granted. The 9/11 MDL court also granted motions for final damages judgments against the

Taliban (among other sovereign and non-sovereign defendants) for the Havlish Plaintiffs.

       6.      In 2015, the Ashton, Burnett, O’Neil, and Federal Insurance Plaintiffs obtained

default judgments against Iran, and on March 8, 2016, the 9/11 MDL court issued final damages

judgments for the Ashton Plaintiffs. Subsequently, the Burnett, O’Neil, and Federal Insurance

Plaintiffs received final damages judgments against Iran as well.

       7.      To my knowledge, prior to September 2021, none of the litigants in the 9/11 MDL

sought to enforce their judgments against the Taliban. I believe this is so because, among other

reasons, as far as anyone knew there were no identifiable Taliban assets available to satisfy the

judgments.

       8.      Following the fall of the Islamic Republic of Afghanistan and the Taliban’s seizing

control of Afghanistan and its state organs, including DAB, on August 27, 2021 the Havlish

Plaintiffs obtained an order of execution and served a writ of execution on the FRBNY on

September 13, 2021, laying claim to $7,045,632,402.79 in DAB Assets. The Havlish Plaintiffs did

not file their proposed or signed order of execution or their writ in the 9/11 MDL docket and we

did not become aware of it until September 16, 2021, when the United States government sought

a stay of enforcement.

       9.      In December 2021, the Ashton Plaintiffs moved for final judgments for damages

against Iran’s co-tortfeasor, the Taliban, seeking the same damages awards previously ordered

against Iran. The cumulative final compensatory damages awards sought in these motions—which

remain pending as of this filing—are nearly $30 billion. Plaintiffs—the Wodensheks—account for

nearly $70 million of those compensatory damages sought. Various other 9/11 MDL plaintiffs also

have pending motions for damages awards.



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       10.     Shortly after the Havlish and Doe Plaintiffs served their writs of execution on the

FRBNY in September 2021, the United States intervened and the Havlish and Doe courts granted

stays of any judicial enforcement of the respective writs of execution. These stays were extended

until February 11, 2022, when the United States filed its Statement of Interest. That same day,

President Biden issued the Executive Order.

       11.     The Executive Order, which came as a surprise to me and my firm, suddenly created

a limited fund of assets that could be used to satisfy judgments against the Taliban. Attached as

Exhibit 1 to this declaration is a true and correct copy of Executive Order 14064, Protecting

Certain Property of Da Afghanistan Bank for the Benefit of the People of Afghanistan. The

Administration also issued a “Fact Sheet” concerning the Executive Order, making clear that the

DAB Assets are earmarked for “U.S. victims of terrorism.” Attached as Exhibit 2 to this

declaration is the Executive Order’s accompanying White House “Fact Sheet.”

       12.     On February 22, 2022, the 9/11 MDL court held a hearing at which counsel for the

United States and the Havlish, Doe, Ashton, O’Neill, and Federal Insurance Plaintiffs, among

others, apprised the court of their respective positions on lifting the stays. Counsel for the Ashton

Plaintiffs, including myself, urged the court to ensure that all plaintiffs in the 9/11 MDL are treated

equitably with respect to the DAB Assets.

       13.     Separately, on March 8, 2022, the Owens Plaintiffs, victims of al Qaeda’s August 7,

1998 bombings of the U.S. Embassies in Nairobi, Kenya and Dar es Salaam, Tanzania, filed a

complaint against the Taliban seeking compensatory and punitive damages. Simultaneously, the

Owens Plaintiffs sought priority over 9/11 MDL plaintiffs and other claimants against the Taliban

by moving the court on an emergency basis for a prejudgment order of attachment against the DAB

Assets for an amount in excess of $4,669,011,012.21. And on March 22, 2022, the Owens court



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granted the Owens Plaintiffs’ attachment motion as to $1,373,761,042.95 (reflecting the

compensatory component of the Owens Plaintiffs’ damages award). In a subsequent Opinion and

Order, the Owens court recognized that the limited DAB Assets are insufficient to satisfy all

deserving victims of terrorism with claims against the Taliban and that New York State’s default

judgment enforcement rules have incentivized the ongoing race to collect against the DAB Assets.4

         14.    On March 20, 2022, the Havlish and Doe Plaintiffs filed motions for partial

turnover in amounts sufficient to satisfy their respective compensatory damages awards of

$2,086,386,669 and $138,285,213.26. Oppositions to those turnover motions are due on April 20,

2022. Should turnover be granted, the majority of DAB Assets will be consumed by a very small

number of claimants, likely leaving the Ashton Plaintiffs (including the Wodensheks) without any

recourse against the DAB Assets.

         15.    On same day the Owens order of attachment was issued, counsel for the Federal

Insurance Plaintiffs in the 9/11 MDL and co-chair of its Commercial Claims PEC submitted the

Priority Settlement Letter apprising the 9/11 MDL court that the Federal Insurance Plaintiffs and

certain other groups of plaintiffs, including the Havlish and Doe Plaintiffs—the Settling MDL

Plaintiffs—had “reached agreement in principle” effectively allocating priority among themselves

over the DAB Assets subject to attachment by the Owens Plaintiffs. This letter asked the 9/11

MDL court to grant the Federal Insurance Plaintiffs’ pending motion for final judgment in order

to enable the Federal Insurance Plaintiffs to seek attachment and obtain priority over that limited

portion of the DAB Assets not already subject to writs of execution by the Havlish and Doe

Plaintiffs. This portion would then be divided amongst the Settling MDL Plaintiffs.




4
    Owens v. Taliban, 22-cv-01949 (S.D.N.Y. Apr. 11, 2022), ECF 38.

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       16.     The Ashton Plaintiffs have declined to participate in this Priority Settlement

because, if allowed, it will still result in a highly inequitable distribution of the DAB Assets, such

that a relatively small number of claimants will receive an outsized portion of the funds, and most

other claimants will receive, if anything, only a tiny fraction of that recovery. The Ashton Plaintiffs

believe that such a settlement is not fair, equitable, or aligned with the directive of the Executive

Order. In fact, counsel for the Ashton Plaintiffs have consistently advocated for equitable

distribution of these assets from the moment the Executive Order made these funds available.

       17.     On April 6, 2022, the 9/11 MDL court granted the Federal Insurance Plaintiffs’

motion for a partial final default judgment against the Taliban, for a total award of

$9,351,247,965.99 (approximately $3.1 billion of which is for compensatory damages). In the

order, the 9/11 MDL court noted that there are more than a dozen motions for default judgment

against the Taliban pending in the MDL, directed “all plaintiffs to continue to meet and propose

strategies for an efficient and fair process to adjudicate pending default judgment motions.” It also

noted that the Federal Insurance Plaintiffs “may execute on and enforce the judgment

immediately.”5

       18.     Unfortunately, if normal New York judgment collection priority rules are applied,

as the Havlish and Doe Plaintiffs are advocating, there will be nothing left of the DAB Assets for

Plaintiffs or thousands of others similarly situated.




5
 Before the Clerk of the Court may issue Federal Insurance Plaintiffs’ Final Judgment against the
Taliban, the Court must approve the proposed calculation of prejudgment interest. See In re
Terrorist Attacks on September 11, 2001, 03-md-1570 (S.D.N.Y. Apr. 11, 2022), ECF 7857.
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       19.     On April 19, 2022, Plaintiffs filed a Class Action Complaint seeking certification

of a “limited fund” Rule 23(b)(1)(B) class. Class Plaintiffs seek:

               a. the subject of this motion—an immediate order in aid of the Court’s jurisdiction

                   enjoining any judgment enforcement proceeding in any court affecting the DAB

                   Assets pending adjudication of Plaintiffs’ Class Action Complaint;

               b. certification of a class composed of all persons and/or estates with a

                   compensatory damages claim against the Taliban on file in a U.S. court of

                   record as of April 20, 2022, where such claim arises directly out of an act of

                   terrorism, where the injuries suffered were proximately caused by that act of

                   terrorism, and where the Taliban has been or likely will be adjudged liable for

                   those injuries;

               c. a declaration that the DAB Assets are available to satisfy the Class members’

                   judgments against the Taliban under Section 201 of the Terrorism Risk

                   Insurance Act (“TRIA”);

               d. the imposition of a constructive trust over the DAB Assets for the benefit of all

                   Class members; and

               e. distribution of the DAB Assets on an equitable basis to all Class members.

       20.     Plaintiffs have made no prior request for the relief sought in the accompanying

Motion for Temporary Restraining Order and for Preliminary Injunction, namely the issuance of

an injunction against any judgment enforcement proceeding in any court affecting the DAB Assets.

       21.     An immediate order enjoining judgment enforcement proceedings affecting the

DAB Assets is critical to protecting the Court’s jurisdiction and to ensuring the availability of the

equitable process sought by Plaintiffs. There is good reason to believe that the DAB Assets may



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be distributed and/or claimed by other Taliban claimants, including, but not limited to, pursuant to

the ongoing turnover proceedings before the Havlish and Doe courts. Absent the injunctive relief

Plaintiffs seek, the Court will not be able to adjudicate the Class claims and Plaintiffs and proposed

Class members will be forced to litigate across the multiple courts in which proceedings affecting

the DAB Assets are underway. And more efforts to enforce judgments against the DAB Assets are

all but certain to come. Most importantly, absent Plaintiffs’ requested relief, a small number of

claimants may seize the entire limited fund of DAB Assets, leaving Plaintiffs, the Ashton Plaintiffs

more broadly, and numerous other victims of the 9/11 Attacks without any way to satisfy their

own substantial judgments. Such an unfair and unjust outcome would shock the conscience.

       22.     Accordingly, on behalf of the Ashton Plaintiffs, I respectfully urge the Court to

grant the emergency and preliminary injunctive relief sought by Plaintiffs.


Dated: April 20, 2022
       New York, New York
                                                             /s/ Megan Wolfe Benett
                                                               Megan Wolfe Benett




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                                           BRIEFING ROOM



    Executive Order on Protecting Certain Property of Da
       Afghanistan Bank for the Benefit of the People
                      of Afghanistan
                               FEBRUARY 11, 2022 • PRESIDENTIAL ACTIONS




By the authority vested in me as President by the Constitution and the laws of the United
States of America, including the International Emergency Economic Powers Act (50 U.S.C. 1701
et seq.) (IEEPA), the National Emergencies Act (50 U.S.C. 1601 et seq.) (NEA), and section 301 of
title 3, United States Code,


I, JOSEPH R. BIDEN JR., President of the United States of America, find that the widespread
humanitarian crisis in Afghanistan — including the urgent needs of the people of Afghanistan
for food security, livelihoods support, water, sanitation, health, hygiene, shelter and settlement
assistance, and COVID-19-related assistance, among other basic human needs — and the
potential for a deepening economic collapse in Afghanistan constitute an unusual and
extraordinary threat to the national security and foreign policy of the United States. I hereby
declare a national emergency to deal with that threat. In addition, I find that the preservation
of certain property of Da Afghanistan Bank (DAB) held in the United States by United States
financial institutions is of the utmost importance to addressing this national emergency and
the welfare of the people of Afghanistan. I also understand that various parties, including
representatives of victims of terrorism, have asserted legal claims against certain property of
DAB or indicated in public court filings an intent to make such claims. This property is
blocked under this order.


Accordingly, I hereby order:


Section 1. (a) All property and interests in property of DAB that are held, as of the date of this
order, in the United States by any United States financial institution, including the Federal
Reserve Bank of New York, are blocked and may not be transferred, paid, exported, withdrawn,
or otherwise dealt in, except as set forth in subsections (b) and (c) of this section.
  (b) United States financial institutions shall promptly transfer the blocked property
described in subsection (a) of this section into a consolidated account held at the Federal
Reserve Bank of New York.
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  (c) The prohibitions in subsection (a) of this section apply except to the extent provided by
statutes, or in regulations, orders, directives, or licenses that may be issued pursuant to this
order, and notwithstanding any contract entered into or any license or permit granted before
the date of this order.

Sec. 2. This order and actions taken pursuant to this order shall apply notwithstanding any
previously issued Executive Order to the extent such order blocks, regulates, or otherwise
affects the property and interests in property identified in section 1(a) of this order. This order
and actions taken pursuant to this order shall supersede any previously issued Executive Order
to the extent such order blocks, regulates, or otherwise affects the property and interests in
property identified in section 1(a) of this order.

Sec. 3. (a) Any transaction that evades or avoids, has the purpose of evading or avoiding,
causes a violation of, or attempts to violate any of the prohibitions set forth in this order is
prohibited.
  (b) Any conspiracy formed to violate any of the prohibitions set forth in this order is
prohibited.


Sec. 4. For the purposes of this order:
  (a) the term “Da Afghanistan Bank” or “DAB” means the Central Bank of Afghanistan;
  (b) the term “entity” means a partnership, association, trust, joint venture, corporation,
group, subgroup, or other organization; and
  (c) the term “person” means an individual or entity.

Sec. 5. For those persons whose property and interests in property are blocked pursuant to this
order who might have a constitutional presence in the United States, I find that because of the
ability to transfer funds and other assets instantaneously, prior notice to such persons of
measures to be taken pursuant to this order would render those measures ineffectual. I
therefore determine that for these measures to be effective in addressing the national
emergency declared in this order, there need be no prior notice of the blocking of property and
interests in property set forth in section 1(a) of this order.


Sec. 6. The Secretary of the Treasury, in consultation with the Secretary of State and the
Attorney General, is authorized to take such actions, including the promulgation of rules and
regulations, and to employ all powers granted to the President by IEEPA as may be necessary
to carry out the purposes of this order. The Secretary of the Treasury may, consistent with
applicable law, redelegate any of these functions within the Department of the Treasury. All
executive departments and agencies of the United States shall take all appropriate measures
within their authority to implement this order.
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Sec. 7. Nothing in this order shall prohibit transactions for the conduct of the official business
of the Federal Government by employees, grantees, and contractors thereof.

Sec. 8. The Secretary of the Treasury, in consultation with the Secretary of State, is authorized
to submit recurring and final reports to the Congress on the national emergency declared in
this order, consistent with section 401(c) of the NEA (50 U.S.C. 1641(c)) and section 204(c) of
IEEPA (50 U.S.C. 1703(c)).

Sec. 9. (a) Nothing in this order shall be construed to impair or otherwise affect:
     (i) the authority granted by law to an executive department or agency, or the head
thereof; or
     (ii) the functions of the Director of the Office of Management and Budget relating to
budgetary, administrative, or legislative proposals.
  (b) This order shall be implemented consistent with applicable law and subject to the
availability of appropriations.
  (c) This order is not intended to, and does not, create any right or benefit, substantive or
procedural, enforceable at law or in equity by any party against the United States, its
departments, agencies, or entities, its officers, employees, or agents, or any other person.


                                                                          JOSEPH R. BIDEN JR.


The White House,

  February 11, 2022.
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 In re Approximately $3.5 Billion of Assets on     Case No. 22-cv-03228
 Deposit at the Federal Reserve Bank of New
 York in the Name of Da Afghanistan Bank



                             [PROPOSED] ORDER GRANTING
                               PRELIMINARY INJUNCTION

       This matter is before the Court on Plaintiffs’ Motion for Temporary Restraining Order and

for Preliminary Injunction. Upon consideration of Plaintiffs’ motion and supporting papers, all

responsive submissions thereto, and all other materials submitted, the Court makes the following

findings:

       WHEREAS, Plaintiffs have moved Order to Show Cause for an order pursuant to the All

Writs Act, 28 U.S.C. § 1651(a), preliminarily enjoining all judgment enforcement proceedings

affecting the approximately $3.5 billion of assets currently on deposit at the Federal Reserve Bank

of New York in the name of Da Afghanistan Bank (the “DAB Assets”) pending adjudication of

Plaintiffs’ Class Action Complaint;

       WHEREAS, pursuant to the All Writs Act, 28 U.S.C. § 1651(a), this Court finds that a

preliminary injunction is necessary to protect the Court’s jurisdiction so that it can adjudicate

Plaintiffs’ Class Action Complaint under Rule 23(b)(1)(B) and determine whether the DAB Assets

should be distributed equitably to all Class members;

       IT IS HEREBY ORDERED THAT all judgment enforcement proceedings in any court

affecting the DAB Assets are enjoined pending adjudication of Plaintiffs’ Class Action Complaint.
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       IT IS FURTHER ORDERED THAT this Court shall retain jurisdiction to monitor and

enforce this Order, and to modify and amend it as justice requires to achieve its purposes.

Dated: New York, New York
       April __, 2022

                                             SO ORDERED:


                                             ____________________
                                             U.S.D.J.
